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                   In Defense of Plausibility: Ashcroft v.
                        Iqbal and What the Plausibility
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                                                      I. INTRODUCTION

                     In May 2009, Ashcroft v. Iqbal divided the Supreme Court of the United
                States over one of the most basic questions in civil procedure-what must a
                plaintiff plead to get into court?' The five-to-four decision has since been
                hailed as "the most significant Supreme Court decision in a decade for day-
                to-day litigation in the federal courts."2 Moreover, it may soon become "the
                most frequently cited Supreme Court case by the lower federal courts in all
                of American history." 3 The critics of the Court find it most alarming that
                Iqbal arguably makes it easier for federal courts to dismiss a complaint
                before giving the plaintiff an opportunity to discover and present its
                evidence.4 In the particular case, the Court threw out a suspected terrorist's
                claim against former U.S. Attorney General John Ashcroft and FBI Director
                Robert Mueller, which alleged that the claimant's detainment following the
                September 11 terrorist attacks was solely the result of discrimination based
                on race, religion, or national origin.' The Court's critics warn, however, that
                suspected terrorists are not the only ones at risk. They argue that Iqbal is "a
                sweeping decision with the potential to impact every plaintiff in a civil
                lawsuit.. .."6 In fact, they have identified numerous plaintiffs whose rights
                they argue have already been violated by the decision, including an epilepsy
                patient suffering multi-organ failure,' Coca-Cola trade unionists in


                    1. See Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009).
                    2. Adam Liptak, 9/11 Case Could Bring Broad Shift on Civil Suits, N.Y. TIMES, July 20, 2009,
                at A10, available at http://www.nytimes.com/2009/07/21/us/21bar.html (quoting Thomas C.
                Goldstein, an appellate lawyer with Akin, Gump, Strauss, Hauer & Feld in Washington, D.C.).
                    3. Kim Briggeman, Supreme Court's Ashcroft Ruling Will Be One of Most-Cited Cases, UC-
                Irvine Law Dean Says, MISSOULIAN (Mar. 9, 2010), http://missoulian.com/news/state-and-
                regional/article_f2c6bela-2b3e-lldf-827d-001cc4cG3286.html (quoting Erwin Chemerinsky, Dean
                of the University of California, Irvine School of Law, in a statement at the University of Montana
                Law School).
                    4. See, e.g., Tony Mauro, Plaintiffs Lawyers See Broad Impact of High Court's Decision on
                Detainees, NAT'L L.J. (May 20, 2009), http://www.law.com/jsp/article.jsp?id=1202430832057
                ("University of Richmond School of Law professor Carl Tobias ... said Iqbal is so significant that it
                in effect rewrites Rule 8 of the Rules of Civil Procedure. 'Judges will have more discretion to
                dismiss cases earlier,' Tobias said."); Liptak, supra note 2 ("Ashcroft v. Iqbal ... makes it much
                easier for judges to dismiss civil lawsuits right after they are filed."); Herman Schwartz, The
                Supreme Court Slams the Door, NATION (Oct. 12, 2009), http://www.thenation.com/article/supreme-
                court-slams-door (explaining that under Iqbal, "businesses that discriminate against minorities,
                corporations that sell harmful products and many other wrongdoers can escape having to answer in
                court for their actions, no matter how blatant or egregious the violation, for the Iqbal decision gives
                judges virtual carte blanche to dismiss a case without allowing the plaintiff any pretrial
                examination"); see also infra notes 178 and accompanying text.
                    5. See Iqbal, 129 S. Ct. at 1942, 1954.
                    6. Mauro, supra note 4 (quoting Ian Millhiser, a lawyer with the National Senior Citizens Law
                Center).
                    7. See Frey v. Novartis Pharm. Corp., 642 F. Supp. 2d 787, 796 (S.D. Ohio 2009) (plaintiff
                alleged a defect in the drug Trileptal, and a motion to dismiss without leave to amend was granted
                under Twombly standards); see also Alison Frankel, Two More Tqbal' Dismissals Emerge in


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             Columbia,' protesters of President George W. Bush, 9 anti-abortion
             protestors,10 members of the Popular Democratic Party in Puerto Rico
             terminated from employment at La Fortaleza," an African-American Philip
             Morris employee, 12 owners of insulated baby-bottle coolers,' 3 a concerned
             airline passenger placed on the terrorist watch-list,14 an inexperienced
             investor in commercial real estate," a prescription drug insurance provider
             that paid out millions for an atypical antipsychotic drug,' 6 and a sixty-year-


             Product Liability Cases, AM. L. LITIG. DAILY (Aug. 4, 2009), http://www.1aw.com/jsp/article.jsp?id
             =1202432738346.
                 8. See Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252 (11th Cir. 2009) (plaintiffs alleged that
             Coca-Cola was involved in kidnap, torture, and murder committed by Columbian paramilitary); see
             also Alison Frankel, 11th Circuit Invokes "lqbal " in Affirming Dismissal of Alien Tort Claims
             Against Coca-Cola and Bottlers, AM. L. LITIG. DAILY (Aug. 13, 2009), http://www.law.cornjsp/
             article.jsp?id=1202432993839.
                 9. See Moss v. U.S. Secret Serv., 572 F.3d 962 (9th Cir. 2009) (plaintiffs alleged violation of
             First Amendment rights by the Secret Service).
                10. See McTeman v. City of York, 577 F.3d 521 (3d Cir. 2009) (plaintiffs alleged violation of
             free exercise and first amendment rights). In McTernan, the plaintiffs sought to stand on the ramp
             granting wheel chair access to the abortion clinic but were refused permission by a police officer.
             Id. at 524.
                11. See Ocasio-Hemadez v. Fortuno-Burset, 639 F. Supp. 2d 217 (D.P.R. 2009) (plaintiffs
             alleged discrimination based on political affiliation in addition to violation of other constitutional
             rights); see also Argeropoulos v. Exide Techs., No. 08-CV-3760, 2009 WL 2132443 (E.D.N.Y. July
             8, 2009) (plaintiff alleged discrimination and harassment because of his national origin and
             perceived sexual orientation). The court posited that the hostile work environment claim might have
             survived under the older standards, but did not under lqbal. Id. at *6.
                12. See Fletcher v. Phillip Morris USA, Inc., No. 3:09CV284-HEH, 2009 WL 2067807 (E.D. Va.
             July 14, 2009) (plaintiff alleged race and gender discrimination).
                13. See Suarez v. Playtex Prods., Inc., No. 08 C 2703, 2009 WL 2212315 (N.D. Ill. July 24,
             2009) (plaintiffs alleged that the baby-bottle coolers contained lead). The claims were dismissed
             without prejudice. Id. at *4. Plaintiffs' consumer fraud claim was dismissed for failure to comply
             with Federal Rule of Civil Procedure 9. Id. at *3. Plaintiffs' negligence claim was dismissed for
             failure to allege injury, an essential element of a claim for negligence. Id. Plaintiffs' unjust
             enrichment claim was dismissed because it "hinge[d] on the viability of the other counts." Id. at *4.
             Each of these claims was dismissed for reasons independent of the plausibility standard. Therefore,
             they would have been dismissed under pre-Twombly standards. See Frankel,supra note 7.
                14. See Tooley v. Napolitano, 586 F.3d 1006 (D.C. Cir. 2009) (plaintiff alleged illegal wire taps
             after suggesting to a Southwest Airlines representative that airlines should screen all luggage for
             bombs). The D.C. Circuit affirmed the dismissal "for reasons distinct but not inconsistent with the
             holding in Iqbal." Id. at 1007. The D.C. Circuit further concluded that these allegations were claims
             "flimsier than doubtful or questionable ... essentially fictitious ... not realistically distinguishable
             from allegations of 'little green men' of the sort that Justice Souter recognized in Iqbal as properly
             dismissed on the pleadings." Id. at 1009 (citations omitted) (internal quotation marks omitted).
                15. See Owens v. Gaffken & Barriger Fund, LLC, No. 08 Civ. 8414(PKC), 2009 WL 3073338
             (S.D.N.Y. Sept. 21, 2009) (plaintiff alleged securities fraud and breach of contract among other
             claims).
                16. See Pa. Emps. Benefit Trust Fund v. Astrazeneca Pharm., No. 6:09-cv-5003-Orl-22DAB,
             2009 WL 2231686 (M.D. Fla. July 20, 2009) (plaintiff alleged false marketing of the drug Seroquel);
             see also Andrew Longstreth, Citing Ashcroft v. Iqbal, Florida Judge Dismisses Seroquel False
             MarketingSuit, AM. L. LITIG. DAILY (July 21, 2009), http://www.law.com/jsp/tal/digestTAL.jsp?id=
             1202432427316&Citing_Ashcr/o0D%0Aoft_v_IqbalFloridaJudge_Dismisses SeroquelFalseM


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               old National Forest Agency employee with sensory deficit condition.'"
                   The Court's influential decision turned upon its interpretation of the
               Federal Rules of Civil Procedure." Under Rule 8(a)(2), pleadings must
               contain "a short and plain statement of the claim showing that the pleader is
               entitled to relief . . .. 9 Instead of referring to the half-century-old "notice"
               pleading standard,20 the Court formulated a "plausibility" standard for
               evaluating every civil complaint. 2' Under the plausibility standard, "only a
               complaint that states a plausible claim for relief survives a motion to
               dismiss." 22 The use of that one word-plausibility-has created substantial
               controversy.23 From one perspective, the Iqbal decision merely settled the
               debate about whether the standard established two years earlier in Bell
               Atlantic Corp. v. Twombly applies in every civil case.24 (Of course, that
               begs the question whether Twombly was a good decision in the first place.)
               From another perspective, Iqbal "messed up" the federal ruleS25 and
               effectively "abandon[ed] the liberal pleading rules which have prevailed for
               decades."26 Since the ruling, legal professionals have argued about whether


               arketing-Suit.
                  17. See Riley v. Vilsack, 665 F. Supp. 2d 994 (W.D. Wis. 2009) (plaintiff alleged age and
               disability discrimination).
                  18. As of January 15, 2010-only eight months after the decision-it has been cited 4,698 times
               by lower courts according to Westlaw's KeyCite display. This number does not include the cases in
               which judges have considered the effect of the case without citing it, including a couple of high
               profile cases. See Liptak, supra note 2 ("The judge hearing the claims of the falsely accused Duke
               lacrosse players has asked for briefing on whether their lawsuit against Durham, N.C., can pass
               muster under Iqbal. But the judge considering a case against John C. Yoo, the former Bush
               administration lawyer, said it could move forward despite lqbal because the suit contained specific
               allegations about Mr. Yoo's conduct in justifying the use of harsh interrogation methods.").
                  19. FED. R. Civ. P. 8(a)(2). Failure to state a claim upon which reliefcan be granted is sufficient
               justification to dismiss a plaintiffs claim. FED. R. Civ. P. 12(b)(6).
                  20. The "notice" standard requires "fair notice of what the plaintiffs claim is and the grounds
               upon which it rests" and has been frequently repeated by federal courts for almost fifty years. 5
               CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 1202, at 94
               (3d ed. Supp. 2009).
                  21. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009).
                  22. Id. (emphasis added).
                  23. Liptak, supra note 2 (drawing attention to the word "plausible" as well as to the phrase
               "common sense").
                  24. See Iqbal, 129 S. Ct. at 1953 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 554 (2007));
               see also Mauro, supra note 4 ("Since Twombly, there has been a dispute over whether it applies
               beyond the antitrust setting, but Iqbal now makes broader application of the rule clear. 'That debate
               is over' in the wake of Iqbal, says Jane Willis, a partner at Ropes & Gray in Boston. 'The decision
               gives district court judges quite a bit more guidance' on how much factual information pleadings
               must contain.").
                  25. Justice Ruth Bader Ginsberg, a former civil procedure professor and dissenter in both
                Twombly and Iqbal, told a group of federal judges that "the court's majority [in Iqbal] messed up the
               federal rules" of civil procedure. Liptak, supra note 2; see also Tony Mauro, Plaintiffs Groups
               Mount Effort to Undo "Iqbal" Ruling, NAT'L L.J. (Sept. 21, 2009), http://www.law.com/jsp/article.
               jsp?id=1202433931370; Stephen C. Webster, 9/11 DecisionAllows Judges to Toss Civil Suits They
               Disfavor, RAW STORY (July 21, 2009), http://rawstory.com/08/news/2009/07/21/91 I-decision-
               allows-judges-to-toss-civil-suits/.
                  26. Mauro, supra note 4 (quoting Ian Millhiser, a lawyer with the National Senior Citizens Law
               Center).


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             the rules need to be changed and, if so, by what means. 27 Additionally,
             members of Congress have proposed legislation to overrule the Supreme
             Court's decision in Ashcroft v. Iqbal.28
                  Part II of this Note provides the general historical background that gave
             rise to the Federal Rules of Civil Procedure, as well as the Supreme Court's
             treatment of pleading standards over the last half-century.29 Part III briefly
             presents the factual setting and procedural history for Ashcroft v. Iqbal.30
             Part IV analyzes the two-pronged approach to the plausibility standard.31
             Specifically, it covers how the Court distinguishes between facts and
             conclusions and how the Court determines whether pleadings contain a
             plausible claim of entitlement to relief. Part V discusses both sides to each
             of the four major criticisms of the Court's opinion: (A) that the plausibility
             standard raised pleading standards, harming plaintiffs; (B) that the Court did
             not have sufficient reason for adopting the plausibility standard; (C) that
             there are too many difficulties in the application of the plausibility standard;
             and (D) that the Court violated the rulemaking process.32 Part VI
             summarizes the impact of the decision on Rule 12(b)(6) motions to
             dismiss.      Part VII discusses Congress's proposed legislation and the
             problems with its members' attempt to overturn Ashcroft v. Iqbal.34 This
             Note concludes with the suggestion that the plausibility standard is nothing
             more than an explication of Rule 8(a)(2) and the long-standing procedure for
             dismissal where there is an insufficient pleading of fact."




               27. See infra notes 167-300 and accompanying text.
               28. See infra note 336 and accompanying text.
               29. See infra notes 36-94 and accompanying text.
               30. See infra notes 95-113 and accompanying text.
               31. See infra notes 114-164 and accompanying text.
               32. See infra notes 165-306 and accompanying text.
               33. See infra notes 307-335 and accompanying text.
               34. See infra notes 336-356 and accompanying text.
               35. See infra notes 357-375 and accompanying text.


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               II.   BACKGROUND: PLEADING IN THE CONTEXT OF HISTORY AND SUPREME
                                       COURT PRECEDENT

              A. Historically,Highly Technical PleadingRequirements Impaired
                 Substantive Justice
                   At common law,36 the courts required writs-special, formulaic
              language associated with approximately thirty kinds of claims-to
              adjudicate cases.17 Under the writ system, rulings on the sufficiency of writs
              were highly unpredictable. 8 Litigants could gain access to courts by
              repeating the allegations, which were held sufficient in previous cases,
              despite factual inaccuracies, and risked dismissal if they did not. 9 This
              system not only incentivized dishonesty in the pleadings, but also impeded
              the courts' efforts to achieve just results.40
                   In the United States, reform efforts began in the nineteenth century.4'
              Those efforts gave rise to code pleading, which replaced writs with "facts,"
              and the thirty forms with "causes of action." 42 One of the objectives of the
              codes was to "revise, reform, simplify, and abridge" rules for pleading.4 3
              Still, courts continued to hold pleadings insufficient for failure to satisfy any
              one of numerous requirements."          To make matters worse, requirements
              were sometimes based on problematic distinctions, such as those between
              facts and law. 45 Despite the reformers' desire to make the law accessible to


                 36. "[Common law pleading] developed in the English courts of common law after the Norman
              Conquest and applied in legal actions in [the United States of America] until the pleading reforms of
              the middle and the latter part of the nineteenth century. . . ." Charles E. Clark, History, Systems and
              Functions ofPleading, 11 VA. L. REV. 517, 519 (1925).
                 37. STEPHEN C. YEAZELL, CIVIL PROCEDURE 333 (7th ed. 2008). Justice Stevens characterized
              these rules, mentioning the Hilary rules of 1834, as "Byzantine" and "hypertechnical." Bell Atl.
              Corp. v. Twombly, 550 U.S. 544, 573-74 (2007) (Stevens, J., dissenting) (citing 9 W.
              HOLDSWORTH, HISTORY OF ENGLISH LAW 324-27 (1926)).
                  38. YEAZELL,supra note 37, at 337.
                  39. Id. ("For example, by the eighteenth century a pleader might allege that defendant, 'with
              force and arms[,] broke and entered the close [i.e., fenced property of the defendant], trampled on,
              consumed, and spoiled the grass and herbage of the property .. .' Such allegations stated a claim
              for a form of trespass, one of the recognized common law writs. In fact, the dispute might be over
              who really owned the property in question, and the allegations of trampling and the like were just
              conventions, designed to get a court to decide who owned the property.").
                  40. See id. Due to factual inaccuracy in the pleadings, parties arrived at court unprepared to
              inform the court because they had little or no knowledge about the contested issues. Id. This made
              it unlikely that the court would reach a just outcome. Id.
                  41. Id. Reform efforts were led by David Dudley Field, an influential New York lawyer. Id.
              For a history of the Field Codes purporting to "dispel [various] misconceptions about civil
              procedure," see generally Stephen N. Subrin, David Dudley Fieldand the Field Code: A Historical
              Analysis of an EarlierProcedural Vision, 6 LAW & HIST. REv. 311 (1988). For Justice Stevens's
              perspective on the historical relevance of David Dudley Field's New York Code of 1848, see his
              dissent in Twombly, 550 U.S. at 574 (Stevens, J., dissenting).
                  42. YEAZELL, supra note 37, at 338.
                  43. Subrin, supra note 41, at 316 (quoting N.Y. CONST. of 1846, art. VI, § 27).
                  44. YEAZELL,supra note 37, at 338.
                  45. Clark, supra note 36, at 534. "[T]he codifiers and the courts failed to appreciate that the


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             ordinary people,46 code pleading led to the unfortunate dismissal of
             meritorious civil claims due to the technical failings of complaints.4 7

            B. Adoption of the New Rulemaking Processand New Rules Aimed at
               Achieving SubstantialJustice

                  The Rules Enabling Act of 1934 gave the Supreme Court "the power to
             prescribe general rules of practice and procedure . . . for cases in the United
             States district courts and courts of appeals," provided that the rules did "not
             abridge, enlarge or modify any substantive right." 48 In 1938, the new
             process produced the Federal Rules of Civil Procedure.49 In response to past
             formalism, these new rules brought greater flexibility.so For example, Rule
             8(a)(2) requires "a short and plain statement," meant to prevent dismissals
             due to technical failings, to encourage courts to adjudicate claims on their
             legal merits.5 1

             C. The Court Established "Simplified Notice Pleading" to Facilitate
                Decisions on the Merits

                 In 1957, the Supreme Court ruled in Conley v. Gibson that "a complaint
             should not be dismissed for failure to state a claim unless it appears beyond


             difference between statements of fact and statements of law is almost entirely one of degree only."
             Id. (citing Walter Wheeler Cook, Statements of Fact in Pleading Under the Codes, 21 COLUM. L.
             REV. 416, 442 (1921) and Edson R. Sunderland, The Michigan JudicatureAct of 1915, 14 MICH. L.
             REv. 273, 551 (1916)). In Justice Stevens's words, "[a] difficulty arose, however, in that the Field
             Code and its progeny required a plaintiff to plead 'facts' rather than 'conclusions,' a distinction that
             proved far easier to say than to apply." Twombly, 550 U.S. at 574 (Stevens, J., dissenting) (citing
             Jack B. Weinstein & Daniel H. Distler, Comments on ProceduralReform: Drafting PleadingRules,
             57 COLUM. L. REV. 518, 520-21 (1957) and Cook, supra, at 417). To provide another example,
             under the code pleading system, courts sustained a demurrer when the allegations were either too
             specific or too general-either "mere evidence" or "mere conclusions"-which led to more litigation
             over pleadings. YEAZELL, supra note 37, at 338.
                46. Subrin, supra note 41, at 319.
                47. YEAZELL, supra note 37, at 338.
                48. 28 U.S.C. § 2072(a)-(b) (2008). Due to subsequent developments, the modem system
             actually began in 1958 (more than two decades after the Rules Enabling Act). Thomas E. Baker, An
             Introduction to Federal CourtRulemaking Procedure,22 TEX. TECH L. REV. 323, 324 (1991). For
             an antecedent history of the Rules Enabling Act itself, see Stephen B. Burbank, The Rules Enabling
             Act of 1934, 130 U. PA. L. REv. 1015, 1035-98 (1982).
                49. Lori A. Johnson, Creating Rules of Procedure for Federal Courts: Administrative
             Prerogativeor Legislative Policymaking?,24 JUST. SYs. J. 23, 24 (2003).
                50. Subrin, supra note 41, at 327.
                51. Id. at 329; see also YEAZELL, supranote 37, at 357. Pleadings are to be construed so as to do
             substantial justice. See FED. R. Civ. P. 8(e). The Supreme Court noted this in 1957, see Conley v.
             Gibson, 355 U.S. 41, 48 (1957), and has recognized the historical significance of this phrase in 2009,
             see Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009) (acknowledging that "Rule 8 marks a notable
             and generous departure from the hyper-technical, code-pleading regime of a prior era. . . .").


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              doubt that the plaintiff can prove no set of facts in support of his claim
              which would entitle him to relief."5 2 According to the Court, a complaint
              should not be dismissed for failure "to set forth specific facts to support its
              general allegations." Under the Court's interpretation of the Federal Rules
              of Civil Procedure, "all the Rules require is 'a short and plain statement of
              the claim' that will give the defendant fair notice of what the plaintiffs
              claim is and the grounds upon which it rests."S4 Emphasizing the "notice"
              function of pleadings, the Court dubbed the new standard "simplified notice
              pleading.",5 The goal of this approach was "to facilitate a proper decision
              on the merits."5 It unequivocally recognized the inferiority of a system
              wherein "one misstep by counsel may be decisive to the outcome" of a
              case.57

              D. ForHalfofa Century, Notice PleadingPrevailedOver Attempts to
                 Raise Standards

                  In 1993, the Supreme Court in Leatherman v. Tarrant County Narcotics
              Intelligence & Coordination Unit held that a federal court may not "apply a
              'heightened pleading standard'-more stringent than the usual pleading
              requirements of Rule 8(a) of the Federal Rules of Civil Procedure .... " 58
              Within the context of this Section 1983 civil rights case, the Court declined
              to accept any arguments intended to justify a standard requiring greater
              "factual detail and particularity . . . ."'
                   Although the Court did not have the opportunity to decide whether
              "expensive and time-consuming discovery" justified raising the pleading
              standard in qualified immunity cases specifically,60 it rejected generalized
              attempts to characterize a heightened pleading standard as a mere reflection
              of the complexities in the underlying substantive law. 6 ' Also, according to


                 52. Conley, 355 U.S. at 45-46 (emphasis added).
                 53. Id at 47.
                 54. Id. at 47 (footnote omitted).
                 55. Id. at 47-48. The Court radically de-emphasized the need for pleadings to define the
              disputed facts and issues. See id. Under the Court's construction, facts and issues would be defined
              through "the liberal opportunity for discovery and other pretrial procedures . . . ." Id.
                 56. Id. at 48.
                 57. Id.
                 58. Leatherman v. Tarrant Cnty. Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 164
              (1993).
                 59. Id. at 164, 167. The Fifth Circuit's rule required "factual detail and particularity . . .
              includ[ing] why the defendant-official cannot successfully maintain the defense of immunity" in
              cases against governmental officials. Id. at 167 (citing Elliot v. Perez, 751 F.2d 1472, 1473 (5th Cir.
              1985)).
                 60. Id. at 166. Respondents argued that discovery has the potential to eviscerate government
              officials' immunity from suit and disrupt government functions. Id. The Court had no occasion to
              decide the matter because municipalities do not enjoy qualified immunity from suit. Id. at 166-67.
                 61. Id. at 167-68. Respondents argued that the Fifth Circuit's pleading standard is not
              heightened but merely reflects a fact of litigation that "the degree of factual specificity required of a
              complaint by the Federal Rules of Civil Procedure varies according to the complexity of the


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            the Court, the Rule 11 obligation to make a reasonable pre-filing inquiry into
            the facts did not carry a requirement for greater detail in complex cases
            because it was "impossible to square" that interpretation of Rule 11 with
            notice pleading.62 Furthermore, the Rule 9(b) requirement of greater
            particularity only applied to the actions enumerated-fraud and mistake-
            and not to other actions arising from complicated factual scenarios. 6 3 The
            Court's opinion implicitly showed approval for "the liberal system of 'notice
            pleading,"' which it expressly described as the system set up by the Federal
            Rules.64 The Court was thus satisfied with the outcome under which
            "federal courts and litigants must rely on summary judgment and control of
            discovery to weed out unmeritorious claims sooner rather than later." 65
                 In 2002, the Supreme Court reiterated its approval of notice pleading in
            Swierkiewicz v. Sorema N. A. by holding that "imposing the Court of
            Appeals' heightened pleading standard in employment discrimination cases
            conflicts with Federal Rule of Civil Procedure 8(a)(2)....". The Court
            based its decision both on the reasoning set forth in Leatherman and the
            language and history of the Federal Rules of Civil Procedure, rejecting
            "technical forms of pleading" and requiring "substantial justice" on the
            merits. 67 The Court acknowledged the argument that "allowing lawsuits
            based on conclusory allegations of discrimination to go forward will burden
            the courts and encourage disgruntled employees to bring unsubstantiated
            suits," 68 but rejected it without investigating the "practical merits" because a
            heightened pleading standard "must be obtained by the process of amending
            the Federal Rules, and not by judicial interpretation." 69 Remarkably,
            concerns about conclusory allegations without significant factual
            enhancement caused the Court to change its rhetoric in just five years.70



            underlying substantive law." Id. at 167.
               62. Id. at 168. Respondents argued that requiring greater factual specificity in complicated cases
            "is consistent with a plaintiffs Rule II obligation to make a reasonable pre-filing inquiry into the
            facts." Id. at 167.
               63. Id. at 168.
               64. Id.
               65. Id. at 168-69.
               66. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002).
               67. Id. at 513-14.
               68. Id. at 514.
               69. Id. at 514-15 (citing Leatherman, 507 U.S. at 168). Furthermore, the Court said, "Rule 8(a)
            establishes a pleading standard without regard to whether a claim will succeed on the merits.
            'Indeed it may appear on the face of the pleadings that a recovery is very remote and unlikely but
            that is not the test."' Id. at 515 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).
               70. See 5 WRIGHT & MILLER, supra note 20, § 1216, at 239 (contrasting the "mood of the Court"
            from Leatherman and Swierkiewicz to Twombly). See generally Bell Atl. Corp. v. Twombly, 550
            U.S. 544 (2007).

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               E. The CourtIntroducedthe PlausibilityStandardand Retired the No-Set-
                  of-Facts Test
                    In 2007, the Supreme Court in Bell Atlantic Corp. v. Twombly instituted
               a significant change." It introduced the "plausibility standard"7 2 and retired
               the "no set of facts" test.7" In its explanation of "what a plaintiff must plead
               in order to state a claim," the Court expressed its continued approval of the
               Conley "notice" pleading standard, stating that the "Federal Rule of Civil
               Procedure 8(a)(2) requires only 'a short and plain statement of the claim
               showing that the pleader is entitled to relief,' in order to 'give the defendant
               fair notice of what the ... claim is and the grounds upon which it
               rests . . . ."'74 However, the Court criticized the Conley no-set-of-facts test
               because it could not be taken literally.7' The Court reasoned that, if it were
               taken literally, the test would permit any claim to survive a motion to
               dismiss unless "its factual impossibility may be shown from the face of the
               pleadings....". The Court saw this outcome as unacceptable; thus, it
               retired the no-set-of-facts test.n7
                    In the antitrust context, compliance with the plausibility standard set
               forth by the Court required "allegations plausibly suggesting (not merely
               consistent with) agreement reflect[ing] the threshold requirement of Rule
               8(a)(2) that the 'plain statement' possess enough heft to 'sho[w] that the
               pleader is entitled to relief."'    The allegations must be enough to "nudge"
               the "claims across the line from conceivable to plausible ... 79 To meet
               this standard, the complaint "does not need detailed factual



                  71. See Twombly, 550 U.S. 544.
                  72. Id. at 560.
                  73. Id. at 563.
                  74. Id. at 554-55.
                  75. Id. at 560-63 (quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957)).
                  76. Id. at 561. The Court of Appeals for the Second Circuit had applied the test literally in order
               to reverse the dismissal. Id. at 553 (citing Twombly v. Bell Ati. Corp., 425 F.3d 99, 114 (2d Cir.
               2005)). It reasoned that "a court would have to conclude that there is no set of facts that would
               permit a plaintiff to demonstrate that the particular parallelism asserted was the product of collusion
               rather than coincidence." Id. The Supreme Court disapproved of the no-set-of-facts test because "a
               wholly conclusory statement of claim would survive a motion to dismiss whenever the pleadings left
               open the possibility that a plaintiff might later establish some 'set of [undisclosed] facts' to support
               recovery." Id. at 561 (alteration in original). To demonstrate the problem with the literal no set of
               facts test, Gregory Katsas argued that:
                     [Lliterally applied, the "no set of facts" test is absurd: a complaint identifying some
                     source of law (say, the Fifth Amendment), and alleging only that the sky is blue, would
                     state a claim because there are many sets of possible facts, consistent with the sky's being
                     blue, that could establish Fifth Amendment liability.
               Access to Justice Denied: Ashcroft v. Iqbal: HearingBefore the Subcomm. on the Constitution, Civil
               Rights, and Civil Liberties of the H. Comm. on the Judiciary, 111th Cong. 57 (2009) [hereinafter
               Hearing] (prepared statement of Gregory G. Katsas, Partner, Jones Day, and former Assistant
               Attorney General, U.S. Dept. of Justice).
                  77. Twombly, 550 U.S. at 563.
                  78. Id. at 557.
                  79. Id. at 570.


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             allegations .. . .. "s However, a showing "requires more than labels and
             conclusions, and a formulaic recitation of the elements of a cause of action
             will not do . ...             In response to the criticism lodged by dissenting
             Justices, the Court plainly asserted in footnote fourteen that it did "not apply
             any 'heightened' pleading standard" to reach its conclusion, 2 and, at the end
             of the opinion, it reasserted that it "do[es] not require heightened fact
             pleading of specifics, but only enough facts to state a claim of relief that is
             plausible on its face."8     Rather than allaying concern, these assurances
             merely contributed to the confusion caused by the mixed signals
             subsequently identified by lower courts. 84

            F. For Two Years, the Twombly StandardConfused Lower Courts
                  In Erickson v. Pardus, one month after Twombly, the Supreme Court
             vacated a dismissal for failure to state a claim."       The Tenth Circuit
             attempted to apply the Twombly standard, determined that the plaintiff's
             allegations were "conclusory," and affirmed the dismissal on that basis.86 In
             response, the Supreme Court declared that "it was error for the Court of
             Appeals to conclude that the allegations                       in question . ..        were too
             conclusory .. .. "" Without explaining its reason, the per curiam opinion
             described the Tenth Circuit's holding as one that "departs in [a] . . . stark ...
             manner from the pleading standard mandated by the Federal Rules of Civil



                80. Id. at 555 (citing Conley v. Gibson, 355 U.S. 41, 47 (1957) and Sanjuan v. Am. Bd. of
             Psychiatry & Neurology, Inc., 40 F.3d 247, 251 (7th Cir. 1994)).
                81. Id. (citing Papasan v. Allain, 478 U.S. 265, 286 (1986) ("on a motion to dismiss, courts 'are
             not bound to accept as true a legal conclusion couched as a factual allegation"')).
                82. Id. at 569 n.14.
                83. Id. at 570.
                84. See, e.g., lqbal v. Hasty, 490 F.3d 143, 155 (2d Cir. 2007).
                85. Erickson v. Pardus, 551 U.S. 89, 90 (2007) (per curiam).
                86. Id.
                87. Id. at 93. The Court of Appeals' error may have been that the allegations were not
             conclusory from the Supreme Court's point of view, or the error may have been that deeming
             allegations conclusory in order to dismiss a complaint is an erroneous approach altogether-the
             Supreme Court did not specifically say. It is even possible that the Supreme Court merely regretted
             that it was a pro se plaintiff who had his complaint dismissed on a procedural issue without leave to
             amend. See Erickson v. Pardus, 198 Fed. Appx. 694, 700 (10th Cir. 2006). Most likely, the Court
             said that it was an error to label the allegations conclusory because they were not conclusory. The
             problem that the district court identified was failure to plead an essential element. See Erickson v.
             Pardus, No. 05 CV 00405 LTB MJW, 2006 WL 650131, at *7 (D. Colo. Mar. 13, 2006). Failure to
             plead an essential element is not the same as failure to provide non-conclusory allegations. The
             alternative explanation-that the Court of Appeals' entire approach was erroneous-is also not
             tenable in light of the Court's own reasoning in Twombly, which involved identifying conclusory
             allegations that are not entitled to an assumption of truth, although this had not been made clear by
             the Court until Iqbal. See Ashcroft v. Iqbal, 129 S. Ct. 1937, 1951 (2009).


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               Procedure ...
                           .."             The Supreme Court cited only two rules, both from
               Twombly:

                     Specific facts are not necessary; the statement need only "give the
                     defendant fair notice of what the ... claim is and the grounds upon
                     which it rests." In addition, when ruling on a defendant's motion to
                     dismiss, a judge must accept as true all of the factual allegations
                     contained in the complaint.
               However, the Court neglected the opportunity to elucidate Twombly's
               impact on motions to dismiss. 89 So, the Court's readers were consigned to
               debate fruitlessly about Twombly's application and limitations 9o-whether
               the plausibility standard was applicable only to antitrust cases, complex
               cases, or cases about which the Supreme Court had not ruled otherwise.9t
                   When Ashcroft v. Iqbal reached the Second Circuit, the Court of
               Appeals wrestled with the implications of Twombly and reached the
               conclusion that Twombly "called for a 'flexible 'plausibility standard,' which


                  88. Erickson, 551 U.S. at 90. The District Court dismissed the complaint for failure to state a
               claim without deeming any allegations conclusory. See Erickson, 2006 WL 650131, at *12. The
               magistrate judge found that the plaintiffs Eighth Amendment claim failed because it did not allege
               that "as a result of the discontinuance of the treatment itself shortly after it began or the interruption
               of treatment for approximately eighteen months he suffered any harm, let alone substantial harm,
               than what he already faced from the Hepatitis C itself," which is an essential element of his claim
               under the deliberate indifference standard. Id. at *7. Rather than relying on the grounds for
               dismissal stated in the District Court, the Court of Appeals deemed the complaint insufficient due to
               the plaintiffs allegations being "conclusory." Erickson, 198 Fed. Appx. at 698, 700. For this
               procedure, the Tenth Circuit cited its own pre-Twombly rules distinguishing between facts and
               conclusions. Id. at 697-98 (citing Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991) and Tal v.
               Hogan 453 F.3d 1244, 1252 (10th Cir. 2006) ("A motion to dismiss under Fed. R. Civ. P. 12(b)(6)
               admits all well-pleaded facts in the complaint as distinguished from conclusory allegations."))
               ("[C]onclusory allegations without supporting factual averments are insufficient to state a claim on
               which relief can be granted.").
                  89. Erickson, 551 U.S. at 93-94 (citation omitted).
                  90. See, e.g., Phillips v. Cnty. of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) ("The issues raised
               by Twombly are not easily resolved, and likely will be a source of controversy for years to come."); 5
               WRIGHT & MILLER, supra note 20, § 1216 ("[C]ourts continue to struggle with the meaning of
               'plausibility.'"); Symposium, The Future ofPleading in the FederalSystem: Debatingthe Impact of
               Bell Atlantic v. Twombly, 82 ST. JOHN'S L. REv. 849 (2008) (indicating the existence of significant
               controversy); Edward D. Cavanagh, Twombly, The Federal Rules of Civil Procedure and the
               Courts, 82 ST. JoHN's L. REv. 877, 889 (2008) ("[T]he uncertainty of the Twombly holding is
               creating confusion in the lower courts . . . ."); J. Douglas Richards, Three Limitations of Twombly:
               Antitrust Conspiracy Inferences in a Context of Historical Monopoly, 82 ST. JOHN'S L. REV. 849,
               849 (2008) ("[T]he Supreme Court has thrown litigants and lower courts into confusion . . . ."); Ettie
               Ward, The After-Shocks ofTwombly: Will We "Notice" Pleading Changes?, 82 ST. JOHN'S L. REV.
               893, 895 ("We have yet to parse fully the impact of Twombly or how significant an adjustment to
               practice it will require .... ). But see Richard M. Steuer, PlausiblePleading:Bell Atlantic Corp. v.
               Twombly, 82 ST. JOHN'S L. REV. 861, 862-63 (2008) ("There can be little doubt that the Supreme
               Court purposefully recalibrated the pleading requirements under Rule 12(b)(6) in Twombly. ...
               [Twombly] provide[d] plenty of insight into what will and will not suffice under the pleading
               standard that the Court announced.").
                  91. See Douglas G. Smith, The Twombly Revolution?, 36 PEPP. L. REv. 1063, 1081-88 (2009)
               (discussing the various ways Twombly might be limited, but arguing that the Court rejected many of
               the limitations suggested by commentators).


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             obliges a pleader to amplify a claim with some factual allegations in those
             contexts where such amplification is needed to render the claim
             plausible."' 92 Judge Cabranes of the Second Circuit concurred but urged the
             Supreme Court to clarify the matter. 93
                  In an amicus brief, professors of civil procedure, concerned about the
             "erosion of longstanding pleading standards," explained that Twombly
             "ha[d] been cited over 6,500 times by lower federal courts, many of which
             have expressed confusion over the proper interpretation and application of
             that decision." 94 The Supreme Court took up the question, and, in so doing,
             allowed a suspected terrorist's implausible pleadings to divide its members.

                                    III.   FACTS AND PROCEDURAL HISTORY

                 Within two months of September 11, 2001, Javaid Iqbal was arrested by
             agents of the Federal Bureau of Investigation and the Immigration and
             Naturalization Service. 95 Iqbal was a thirty-three-year-old Muslim from
             Pakistan living with his wife in Hicksville, New York, and working as a
             cable television installer in Long Island when he was arrested and charged
             with using a Social Security card that did not belong to him. 96 He was
             imprisoned in the Metropolitan Detention Center in Brooklyn. 97 During his
             detainment, Iqbal was designated a person "of high interest" to the
             September 11 investigation and was moved to the Administrative Maximum
             Special Housing Unit (Admax-Shu) within the same prison.98 In Admax-


                92. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1944 (2009) (citing Iqbal v. Hasty, 490 F.3d 143, 157-58
             (2d Cir. 2007)).
                93. Id. at 1945 (citing Hasty, 490 F.3d at 178 (Cabranes, J., concurring)).
                94. Brief of Professors of Civil Procedure and Federal Practice as Amici Curiae in Support of
             Respondents at 2, Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009) (No. 07-1015), 2008 WL 4792462.
             Additionally, Stephen C. Yeazell, a civil procedure professor and casebook author, suggested that
             various possible meanings exist for Twombly. See YEAZELL, supra note 37, at 363-64 ("Some
             sections of the opinion suggest [that Twombly is significant for one's understanding of pleading],
             reinterpreting Conley v. Gibson. The dissent, written by a former antitrust lawyer (Justice Stevens)
             and a former civil procedure teacher (Justice Ginsberg), suggest these sections were not necessary to
             decide the case. . . . Other sections suggest that Twombly is less a case about pleadings generally
             than about pleadings in cases that are likely to require extensive (and expensive) discovery. . . .
             Perhaps one can be confident only in predicting that it will be malpractice for a defendant seeking a
             12(b)(6) dismissal in federal courts not to cite Twombly, and that it will take several years for the
             courts to decide whether the decision was an aberration or a significant change of course. Evidence
             of both propositions can be found in a statistic: six months after Twombly was decided, it had been
             cited in 2,400 judicial opinions.").
                95. Iqbal, 129 S. Ct. at 1943.
                96. Linda Greenhouse, Court to Hear Challengefrom Muslims Held After 9/11, N.Y. TIMES,
             June 17, 2008, at A16, available at http://www.nytimes.com/2008/06/17/washington/17scotus.html
             ?_r-2&fta-y. Javaid Iqbal was arrested on November 2, 2001. Id.
                97. Id.
                98. Iqbal, 129 S. Ct. at 1943.


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               Shu, he was placed in solitary confinement and allegedly suffered serial
               body cavity searches, beatings, extreme temperatures, and other harsh
               conditions.99 After several months, he pleaded guilty to the criminal charge
               for document fraud.' 00 He served a term in prison and was finally removed
               to Pakistan, his country of citizenship.io'
                    In 2004, Iqbal brought a lawsuit against former Attorney General of the
               United States John Ashcroft, Director of the FBI Robert Mueller, and thirty-
               two others, including some of the corrections officers that had day-to-day
               contact with Iqbal.102 Iqbal alleged that Ashcroft, Mueller, and some of the
               other defendants discriminated against him "solely on account of [his]
               religion, race and/or national origin" by labeling him a person of high
               interest and subjecting him to unnecessarily cruel and inhumane conditions
               in Admax-Shu. 0 3 Ashcroft and Mueller moved to dismiss the complaint for
               failure to state allegations sufficient to overcome their entitlement to
               qualified immunity as government officials.'" The district court applied the
               no-set-of-facts test and denied their motion.""5 Ashcroft and Mueller
               appealed to the Second Circuit.10 6 While awaiting appeal, Twombly retired
               the no-set-of-facts test.'0o The appellate court wrestled with Twombly,
               concluded that it did not apply in the particular case, and affirmed the
               denial. 08 Ashcroft and Mueller petitioned the Supreme Court to review the
               motion to dismiss and were granted certiorari.109
                    The Supreme Court applied the Twombly standard.11 o It held that
               Iqbal's complaint "failed to plead sufficient facts to state a claim" against
               Ashcroft and Mueller, the only two defendants before the Court."' The case
               was remanded to the Second Circuit and, in turn, to the District Court to
               determine whether Iqbal would be granted leave to amend his complaint.12
               Iqbal then entered settlement negotiations with the government, but he was
               allowed the option of amending his pleadings to include newly obtained



                  99. Id. at 1944; Greenhouse, supra note 96.
                 100. Iqbal, 129 S. Ct. at 1943; Greenhouse, supra note 96.
                 101. Iqbal, 129 S. Ct. at 1943; Greenhouse, supra note 96.
                 102. First Amended Complaint and Jury Demand, Elmaghraby v. Ashcroft, No. 04 CV 1809 (JG)
               (JA) (E.D.N.Y. Sept. 30, 2004), 2004 WL 3756442; Iqbal, 129 S. Ct. at 1943. Ashcroft and Mueller
               were the only defendants before the Supreme Court in Ashcroft v. Iqbal. Iqbal, 129 S. Ct. at 1944.
                 103. First Amended Complaint and Jury Demand, supra note 102, T5 96-97.
                 104. Iqbal, 129 S. Ct. at 1944.
                 105. Id.; Elmaghraby v. Ashcroft, No. 04 CV 01809 JG SMG, 2005 WL 2375202, at *9, *36
               (E.D.N.Y. Sept. 27, 2005).
                 106. Iqbal, 129 S. Ct. at 1944.
                 107. Id
                 108. Id.; Iqbal v. Hasty, 490 F.3d 143, 155-58, 177 (2d Cir. 2007).
                 109. Ashcroft v. lqbal, 128 S. Ct. 2931, 2931 (2008); see also Iqbal, 129 S. Ct. at 1944.
                 110. Iqbal, 129 S. Ct. at 1949-52.
                 111. Id. at 1954. The Court expressed no opinion concerning the sufficiency of lqbal's complaint
               against the defendants other than Ashcroft and Mueller. Id. at 1952.
                 112. Id. at 1954; lqbal v. Ashcroft, 574 F.3d 820 (2d. Cir. 2009) (per curiam).


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              facts possibly sufficient to satisfy the Iqbal Court's standard."' The
              principal source of controversy involved the Court's application of the
              Twombly standard.

                  IV.    ANALYSIS: THE TWO-PRONGED APPROACH TO THE PLAUSIBILITY
                                             STANDARD

                   The heart of the Court's opinion involved identifying and applying the
              proper method for evaluating the sufficiency of Iqbal's complaint.114
              Following the framework established in Twombly, the Court "beg[a]n by
              taking note of the elements a plaintiff must plead to state a claim" under the
              relevant substantive law."' Next, the Court examined the complaint and
              applied the "two-pronged approach" to the Twombly plausibility standard."'
              First, the Court "identified] the allegations in the complaint that [were] not
              entitled to the assumption of truth.""'7 The identification prong requires
              distinguishing between facts and legal conclusions because only factual
              allegations are entitled to an assumption of truth."' Second, the Court
              considered "the well-pleaded, non-conclusoryfactual allegations" in order to
              determine whether those allegations "plausibly suggest an entitlement to
              relief." '"
                   The analytical framework used to apply the plausibility standard gives
              rise to two initial questions. First, how does the Court distinguish between
              facts and conclusions? Second, how does the Court determine whether the
              allegations plausibly suggest an entitlement to relief?




                113. Mauro, supra note 25. Iqbal's lawyer, Alex Reinert, believes that Iqbal has obtained facts
              sufficient to meet the standard in amended pleadings. Id.
                114. Iqbal, 129 S. Ct. at 1947.
                115. Id.
                116. Id.at 1950.
                117. Id. at 1951.
                118. See id. "[T]he tenet that a court must accept as true all of the allegations contained in a
              complaint is inapplicable to legal conclusions." Id. at 1949 (citing Bell Atl. Corp. v. Twombly, 550
              U.S. 544, 555 (2007)). As Justice Souter would have it, some factual allegations would not be
              entitled to the presumption of truth if sufficiently fantastic. Id. at 1959 (Souter, J., dissenting) ("[A]
              court must take the allegations as true, no matter how skeptical the court may be. . . . The sole
              exception to this rule lies with allegations that are sufficiently fantastic to defy reality as we know it:
              claims about little green men, or the plaintiff's recent trip to Pluto, or experiences in time travel."
              (citations omitted)).
                119. Id. at 1950-51 (majority opinion) (emphasis added). "[O]nly a complaint that states a
              plausible claim for relief survives a motion to dismiss." Id. at 1950 (citing Twombly, 550 U.S. at
              556).


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                A. Applying the FirstProng: The Fact-ConclusionDistinction
                     The Court offered several descriptions to assist in proper delineation
                between facts and conclusions. Allegations do not need to be "detailed" to
                be factual.' 20 Non-factual, conclusory allegations include "an unadorned,
                the defendant-unlawfully-harmed-me accusation," "labels and conclusions,"
                "a formulaic recitation of the elements of a cause of action," "naked
                assertion[s] devoid of further factual enhancement," and "[t]hreadbare
                recitals of the elements of a cause of action."' 2' Additionally, "bare
                assertions" and "bald allegations" without factual content are conclusory.122
                Recognizing a potential pitfall, the Court explained that allegations should
                not be deemed conclusory on the basis that they are "unrealistic or
                nonsensical," "too chimerical to be maintained," or "extravagantly
                fanciful." 123
                     Apart from these generalized guideposts, the Court's direction comes
                primarily from its examples. In Ashcroft v. Iqbal, the following allegations
                were considered conclusory: "[P]etitioners 'knew of, condoned, and
                willfully and maliciously agreed to subject [Iqbal]' to harsh conditions of
                confinement 'as a matter of policy, solely on account of [his] religion, race,
                and/or national origin and for no legitimate penological interest."" 24
                Furthermore, the allegation that "Ashcroft was the 'principal architect' of
                this invidious policy and ... Mueller was 'instrumental' in adopting and
                executing it" was also considered conclusory.' 2 5 In comparison, the
                following were considered factual allegations: "[T]he [FBI], under the
                direction of Defendant MUELLER, arrested and detained thousands of Arab
                Muslim men . .. as part of its investigation of the events of September
                11."126 In Erickson v. Pardus,the following was considered factual (or non-
                conclusory):

                      Dr. Bloor's decision to remove petitioner from his prescribed
                      hepatitis C medication was "endangering his life.". . . [T]his
                      medication was withheld "shortly after" petitioner had commenced
                      a treatment program that would take one year, . . . he was "still in


                  120. See id. at 1949 (quoting Twombly, 550 U.S. at 555) (internal quotation marks omitted).
                  121. Id. (quoting Twombly, 550 U.S. at 555) (internal quotation marks omitted) (fourth alteration
                in original).
                  122. Id. at 1951 (citing Twombly, 550 U.S. at 555).
                  123. Id. This is consistent with the instruction for applying the second prong that "a well-pleaded
                complaint may proceed even if it strikes a savvy judge that actual proof of those facts is improbable"
                and chances of recovery are remote. Twombly, 550 U.S. at 556.
                  124. Iqbal, 129 S. Ct. at 1951 (citations omitted) (third alteration in original).
                  125. Id. (citations omitted). By labeling these allegations conclusory, the Court likely meant that
                the allegations were insufficient to support the legal conclusion that the policy was invidious. It
                could not mean that Iqbal's allegations that Ashcroft was the principal architect and that Mueller was
                instrumental in executing the policy were conclusory because those were factual allegations specific
                to the case. In any event, this determination would not have altered the outcome of the case.
                  126. Id. (second alteration in original).


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                   need of treatment for this disease," and ... the prison officials were
                   in the meantime refusing to provide treatment.127
              In Twombly, by contrast, "a naked assertion of conspiracy" was
              conclusory.1 28
                  While facts and conclusions are clearly not separate, water-tight
              categories, there is a common thread in the Court's analysis of the first
              prong. Factual allegations tend to be those specific to the factual setting out
              of which the case arose, not generally applicable to every case of its type.129
              They are specific, but not necessarily detailed." 0 Conclusory allegations are
              "naked," "bare," "bald," and "devoid" of factual enhancement.' 3 1 So, to
              determine whether an allegation is entitled to an assumption of truth, it is
              reasonable to conclude that the Court means only to exclude those legal
              conclusions on the extreme end of the fact-conclusion continuum.1 32

              B. Applying the Second Prong: The Meaning ofPlausibility

                   Addressing the second prong, the Court explained that for allegations to
              plausibly suggest an entitlement to relief, the complaint must contain
              "sufficient factual matter, accepted as true, to 'state a claim to relief that is
              plausible on its face," 33 a condition that is satisfied "when the plaintiff
              pleads factual content that allows the court to draw the reasonable inference
              that the defendant is liable for the misconduct alleged."' 34 It "is not akin to a
              'probability requirement,' but it asks for more than a sheer possibility that a


                127. Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam) (citation omitted). It was
              erroneously deemed "conclusory" by the Court of Appeals. See supratext accompanying note 87.
                128. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007) (citing DM Research, Inc. v. Coll. of
              Am. Pathologists, 170 F.3d 53, 56 (1st Cir. 1999) ("[T]erms like 'conspiracy,' or even 'agreement,'
              are border-line: they might well be sufficient in conjunction with a more specific allegation-for
              example, identifying a written agreement or even a basis for inferring a tacit agreement, . . . but a
              court is not required to accept such terms as a sufficient basis for a complaint.")); see also Iqbal, 129
              S. Ct. at 1951.
                129. See supra notes 120-128 and accompanying text.                   For example, every religious
              discrimination case would allege that the defendant discriminated on the basis of religion, but only
              plaintiffs involved in lqbal's specific factual setting would allege that he suffered beatings while
              detained in Admax-Shu.
                130. See supra notes 120-128 and accompanying text. Specific allegations are different from
              detailed allegations. For example, a plaintiff could make the specific allegations that the defendant
              wore an FBI jacket if it was specific to his case, not an element of the claim. That would be
              different from providing detailed allegations that defendant wore a black, nylon FBI jacket with ten
              buttons on the front and large, yellow letters on the back. Both allegations would be specific, but the
              latter contains more detail.
                131. See supra notes 120-128 and accompanying text.
                132. See supra notes 120-131 and accompanying text.
                133. Iqbal, 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 570).
                134. Id. (citing Twombly, 550 U.S. at 556).


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                defendant has acted unlawfully" or more than factual allegations "merely
                consistent" with the defendant's liability.13 1 Put another way, plausibility
                requires the plaintiff to plead enough non-conclusory, factual content to
                show that, if the factual allegations and reasonable inferences from those
                allegations are true, the plaintiff's entitlement to relief is not just speculative,
                but believable.' 36
                     There are two minor nuances and one major point of potential confusion
                in the Court's analysis. One nuance is that "well-pleaded facts giv[ing] rise
                to a plausible inference" that the plaintiff is entitled to relief are not
                sufficient to satisfy the plausibility requirement, but "facts plausibly
                showing" entitlement are sufficient.'37 A plausible showing is more than a
                plausible inference; the former "suggests" entitlement.'38 The other nuance
                stems from the statement that "[a] claim has facial plausibility when the
                plaintiff pleads factual content that allows the court to draw the reasonable
                inference that the defendant is liable for the misconduct alleged.""' 9 Here,
                there is a subtle distinction between a plausible inference and a reasonable
                inference-only allegations giving rise to the latter are sufficient to state a
                claim. 140
                     The major point needing clarification is that the second prong is not
                concerned with whether the factual allegations are believable.141 Factual
                allegations are fully and unequivocally entitled to an assumption of truth.142
                The plausibility question refers to whether it is minimally believable, not
                just speculative, that the plaintiff will be entitled to relief assuming that the
                                                                 43
                factualallegations are true andprovable at trial.1



                  135. Id. (quoting Twombly, 550 U.S. at 556-57).
                  136. One civil procedure professor offers a "descriptive" theory that plausibility is a "requirement
                that a complaint-through the use of objective facts and supported implications-describe events
                about which there is a presumption of impropriety." A. Benjamin Spencer, UnderstandingPleading
                Doctrine, 108 MICH. L. REv. 1, 1 (2009). Likewise, the Ninth Circuit has summarized that, under
                Twombly and Iqbal, "for a complaint to survive a motion to dismiss, the non-conclusory factual
                content, and reasonable inferences from that content, must be plausibly suggestive of a claim
                entitling the plaintiff to relief." Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009).
                  137. Iqbal, 129 S. Ct. at 1952 (emphasis added).
                  138. See id. In other words, a plausible showing is made when the factual allegations give rise to
                a reasonable inference that plaintiff is entitled to relief, not merely a plausible inference. A plausible
                inference that plaintiff is entitled to relief is less than what the plausibility standard requires.
                  139. Id. at 1949.
                  140. Factual allegations that give rise to a reasonable inference are sufficient to state a claim. Id.
                Factual allegations that give rise to a plausible inference are not sufficient to state a claim. Id. at
                 1952. It is assumed here that the inference in question is the inference whether, based on the factual
                allegations, the plaintiff would be entitled to relief.
                  141. The first prong does not permit judges to deem allegations conclusory on the basis that they
                are unbelievable. See supranote 123 and accompanying text. Neither does the second prong permit
                judges to dismiss a complaint based on personal disbelief. See infra note 289 and accompanying
                text.
                  142. Iqbal, 129 S. Ct. at 1950-51.
                  143. See supra notes 133-135 and accompanying text. During oral argument, Justice Breyer
                posed a hypothetical scenario to determine how this would "work in an ordinary case." Transcript of
                Oral Argument at 13, Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009) (No. 07-1015), 2008 WL 5168391.


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                   There are several indications that the plausibility standard sets a
              minimal threshold. The use of the terms "nudge" and "enough heft" reveal
              the picture that the Court has in mind-like pushing a cardboard file box
              (something with which lawyers are familiar) over a line on a smooth
              concrete floor.'" A sports metaphor might look like a football team (in the
              absence of an opposing team) moving the ball an inch across the line of
              scrimmage, or a golfer lightly chipping a ball onto a nearby, large, flat green.
              The allegations have to push the complaint barely past the line of
              conceivability into the realm of plausibility.14 5 The requisite plausible
              showing requires only slightly more than either impossibility on the face of
              the pleadings, sheer possibility, pleadings merely consistent with
              entitlement, or pleadings giving rise to no more than a plausible inference of
              entitlement.14 6 Further, a plausible showing is accomplished by allegations
              giving rise to a reasonableinference of entitlement.14 7 It does not, however,
              require allegations that make entitlement more likely than not. 148
                   Further conjecture may yield a yet fuller picture tending to indicate that


              The hypothetical situation involved allegations that the president of Coca-Cola personally placed a
              mouse in a bottle. Transcript of Oral Argument, supra, at 13. Attorney General Garre suggested
              that the president would be able to avoid the deposition because the allegation was not plausible
              under Twombly. Transcript of Oral Argument, supra, at 14. Garre's suggestion was incorrect
              because that factual allegation would be entitled to an assumption of truth. Iqbal, 129 S. Ct. at 1949.
              Justice Souter corrected him, explaining that:
                    But Mr. Garre, you are using the word "plausible" or you're taking the word "plausible"
                    out of Bell Atlantic, I think, and you are using it to mean something that probably can be
                    proven to be true. Bell Atlantic drew that distinction. The plausibility there is a
                    plausibility that if they prove what they says [sic] they will-they will establish a
                    violation.
              Transcript of Oral Argument, supra, at 14-15.
                144. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 563 (2007).
                145. The sports metaphors are merely meant to illustrate the amount of force needed to meet the
              plausibility standard. Readers may note other similarities and differences by which to compare or
              distinguish the analogy to pleading. I note only the following: The primary deficiency in the
              football-team analogy is that a football team typically faces an opposing team that attempts to
              prevent the offensive team from crossing the line of scrimmage. The factual allegations face no
              opposing force; rather they are entitled to the assumption of truth. Iqbal, 129 S. Ct. at 1950-51.
              One deficiency in the golfer analogy is that the golfer does not act as a member of team whereas the
              factual allegations can support one another. Plotkin v. IP Axess Inc., 407 F.3d 690, 702 (5th Cir.
              2005) (referring to a "set of facts"). Another deficiency is that while the golfer is often at risk of
              swinging with too much force and missing the green entirely, the plaintiff generally does not face the
              same risk of pleading too much factual content.
                146. See supra notes 133-143 and accompanying text.
                147. See supra notes 133-143 and accompanying text.
                148. Iqbal, 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 556); see also Contra Pleading
              Standards, 123 HARV. L. REV. 252, 253 ("The lqbal decision will allow federal courts to dismiss a
              complaint whenever they believe that, given the allegations in the complaint, it is more likely than
              not that no illegal conduct occurred."); Andrew F. Halaby, Pleading Analysis Under Iqbal: Once
              More unto the Breach!, 46 ARIz. ATT'Y 34, 34 (2009) (suggesting that "probability" means "more
              than 50 percent likelihood.").


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              plausibility sets a relatively low bar. In conjunction with Iqbal, a majority
              of the circuits have continued to apply the rules that in reviewing a motion to
              dismiss all reasonable inferences are drawn in favor of the plaintiff, 149 and
              the well-pleaded allegation must be interpreted in the light most favorable to
              the plaintiff.'50 The applicability of these long-standing rules suggests that
              the plausibility standard puts a minimal burden on plaintiffs. Additionally,
              the Court has consistently relied upon the forms for guidance.' 5 ' So,
              reviewing courts should interpret Iqbal in a way that is consistent with the
              model complaints provided in the appendix of forms.' 52 The factual
              allegations in the model complaint for negligence are sparse.'s Assuming
              that the form states a plausible claim, the plausibility threshold must be
              relatively low.1 54 Finally, the existence of an obvious alternative explanation


                149. See, e.g., Hayden v. Paterson, 594 F.3d 150, 160 (2d Cir. 2010); Sanchez v. Pereira-Castillo,
              590 F.3d 31, 41 (1st Cir. 2009); Cann v. Hayman, 346 Fed. App'x 822, 824 (3d Cir. 2009); Nemet
              Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 253, 255 (4th Cir. 2009); In re Travel
              Agent Comm'n Antitrust Litig., 583 F.3d 896, 903 (6th Cir. 2009); Kaye v. D'Amato, 357 Fed.
              App'x 706, 710 (7th Cir. 2009); Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 591 (8th Cir. 2009);
              al-Kidd v. Ashcroft, 580 F.3d 949, 956 (9th Cir. 2009). Contra Hearing, supra note 76, at 89
              (prepared statement of Debo P. Adegbile, Director of Litigation, NAACP Legal Defense and
              Educational Fund, Inc.) ("For five decades, when reviewing a complaint for sufficiency, courts had
              been directed to view allegations in the complaint in the light most favorable to the plaintiff and
              draw all reasonable inferences in her favor. Under Iqbal and Twombly, the plausibility pleading
              standard undermines these presumptions and effectively gives the benefit of the doubt to the
              defendant.").
                150. See, e.g., Rhodes v. Prince, 360 Fed. App'x 555 (5th Cir. 2010); Consumeraffairs.com,Inc.,
              591 F.3d at 255; Kaye v. D'Amato, 357 Fed. App'x 706 (7th Cir. 2009); Water Edge Living LLC v.
              RSUI Indem. Co., 355 Fed. App'x 318 (11th Cir. 2009); Arar v. Ashcroft, 585 F.3d 559, 567 (2d
              Cir. 2009) cert. denied, 130 S. Ct. 3409 (2010); Jebaco, Inc. v. Harrah's Operating Co., 587 F.3d
              314, 318 (5th Cir. 2009); Gross v. Rell, 585 F.3d 72, 75 n.1 (2d Cir. 2009); Williams v. Sirmon, 350
              Fed. App'x 294 (10th Cir. 2009); Travel Agent Comm'n, 583 F.3d at 903; McTernan v. City of
              York, 577 F.3d 521, 526 (3d Cir. 2009); Moss v. U.S. Secret Serv., 572 F.3d 962, 967 (9th Cir.
              2009).
                151. The Supreme Court has relied upon the appendix of forms in ruling on a motion to dismiss.
              See, e.g., Twombly, 550 U.S. at 565 n.10; id. at 575-76 (Stevens, J., dissenting); Swierkiewicz v.
              Sorema N. A., 534 U.S. 506, 513 n.4 (2002); Conley v. Gibson, 355 U.S. 41, 47 (1957), abrogated
              by Twombly, 550 U.S. 544. ContraHearing, supra note 76, at 79-92 (prepared statement of Debo
              P. Adegbile).
                152. See supra note 151.
                153. See FED. R. Civ. P., Appendix of Forms, Form 11.
                154. The model complaint for a negligence claim involving a car accident is stated "[oin <Date>,
              at <Place>, the defendant negligently drove a motor vehicle against the plaintiff. . . .As a result, the
              plaintiff was physically injured, lost wages or income, suffered physical and mental pain, and
              incurred medical expenses of $ <>."              Id. Applying the first prong of the Iqbal test, the
              reviewing court would determine whether the phrase "negligently" is conclusory. See supra text
              accompanying notes 120-128. Although the allegation of negligence is a legal conclusion, it is not a
              bare averment because it provides factual enhancement such as the date, location, and event. So, it
              would probably not be conclusory. See supra text accompanying notes 120-128. If the court
              deemed "negligently" conclusory, it would evaluate the factual allegation that "the defendant ...
              drove a motor vehicle against the plaintiff" in order to determine whether it plausibly suggest
              entitlement to relief. See supra text accompanying notes 115-119. If the model complaint still
              satisfies the plausibility standard, then the requisite factual allegations are clearly minimal. Even if
              "negligently" is non-conclusory and is therefore given the assumption of truth, the requisite
              allegations are minimal. Either way, alternative explanations exist under which the defendant would


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             renders the allegations less than a plausible showing, but the existence of an
             alternative explanation clearly still is permissible.'              Post-Twombly
             Supreme    Court  precedent  implied   that a "merely   plausible  or  reasonable"
             inference  was  not as strong as an  inference that is "at least as  compelling  as
                                        56                       offered  by  the plaintiff need
             any opposing inference."l      So, the  explanation
             not even be as compelling as existing alternatives. 117
                   This interpretation is consistent with the Court's application of the
             standard in Twombly and Iqbal. In Iqbal, the plaintiff alleged that "the FBI,
             under the direction of Defendant Mueller, arrested and detained thousands of
             Arab Muslim men as part of its investigation of the events of September
              11 ."'" Taken as true, these allegations were "consistent with" but "d[id] not


             not be liable. For example, it is possible that the defendant drove his motor vehicle into the plaintiff
             in an intersection immediately after the plaintiff ran a red light. Therefore, the plausibility threshold
             must be relatively low. Obviously a more complicated claim might require more factual allegations,
             but that would be a function of pleading the claim and not of a raised standard.
               155. Allegations of a disproportionate impact on a national or religious group were not enough to
             show unconstitutional discrimination in Iqbal and that allegations of parallel conduct were not
             enough to show conspiracy in Twombly because there were obvious alternative explanations for both
             sets of allegations. See infra notes 159, 161 and accompanying text.
               156. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314 (2007) ("An inference of
             fraudulent intent may be plausible, yet less cogent than other, nonculpable explanations for the
             defendant's conduct. To qualify as 'strong' within the intendment of § 21D(b)(2), we hold, an
             inference of scienter must be more than merely plausible or reasonable-it must be cogent and at
             least as compelling as any opposing inference of nonfraudulent intent."). Assuming that the Court
             has been and will continue to be consistent with its language, these statements give rise to a more
             robust understanding of the plausible showing requirement. Taking all of these statements together,
             the likelihood of entitlement to relief runs a spectrum: impossible on the face of the pleadings (0%);
             which is less than a sheer possibility or merely consistent; which is less than, or equal to, a plausible
             inference; which is less than a plausible showing; which is less than, or equal to, a reasonable
             inference; which is less than an at-least-as-compelling-as-any-opposing-inference inference (e.g.,
             50%-50% or 30%-30%-30%-10% or 49%-49%-2%); which is less than, or equal to, an equally-as-
             likely-as-not inference (50%-50%); which is less than a more-likely-than-not inference (greater than
             50%). Furthermore, the existence of an obvious alternative explanation renders the inference less
             than a plausible showing. However, the existence of an alternative explanation seems to be fully
             acceptable as long as there is still a plausible showing. Thus, a plausible showing may require even
             less likelihood than one equal to that of any alternative explanation. The permissibility of alternative
             explanations consistent with an at-least-as-compelling-as-any-opposing-inference inference,
             however, is inconsistent with the Twombly Court's suggestion that allegations could be insufficient
             though the inference of illegality weighed "equally" with the inference of legality. See Twombly,
             550 U.S. at 566-67 (parenthetically quoting Kramer v. Pollock-Krasner Found., 890 F. Supp. 250,
             256 (S.D.N.Y. 1995)). This suggests that the plausibility threshold may require that the inference of
             illegality be stronger than the inference of legality in some cases. Additionally, it suggests that the
             plausibility threshold may vary from case to case. Most likely, the Court's short quote from Kramer
             may have merely been an imprecise oversight meant only to show why parallel conduct does not
             establish conspiracy. See id. In that case, entitlement to relief is plausible under Twombly and 1qbal,
             even if the inference that the defendant is liable is not as compelling as the opposing inference.
             Therefore, plausibility is a relatively low standard.
               157. See supra note 156.
               158. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1951 (2009) (citation omitted) (internal quotation marks
             omitted) (ellipsis omitted).


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               plausibly establish" that the defendants unconstitutionally discriminated on
               the basis of religion, race, or national origin because there was a lawful and
               justified "obvious alternative explanation" for the alleged conduct.'59
                Similarly, in Twombly, the plaintiffs alleged the "absence of any meaningful
               competition between [the ILECs] in one another's markets, the parallel
               course of conduct that each [ILEC] engaged in to prevent competition from
               CLECs, and the other facts and market circumstances. .... "Io These
               allegations did not plausibly suggest the requisite element of conspiracy
               because there was a natural and lawful "obvious alternative explanation" for
               this market behavior.161
                    In practice, therefore, plausibility appears to set a minimal threshold for
               complaints.162 Assessing the plausibility of a claim will be a "context-
               specific task," meaning that complicated claims may require more factual
               allegations than straightforward claims. 161 Until the Supreme Court revisits
               the issue, reviewing courts are instructed "to draw on [their] judicial
               experience and common sense" to determine whether the allegations
               constitute a plausible showing.16

                  V. CRITICISM: SHOULD THE COURT HAVE ADOPTED THE PLAUSIBILITY
                                           STANDARD?

                    Given what the Court means when it says that "only a complaint that
               states a plausible claim for relief survives a motion to dismiss," the next
               question is whether the Court should apply the plausibility standard when
               assessing the sufficiency of complaints under Rule 8.161
                    The majority's own argument has largely been that the plausibility
               standard handed down in Twombly "was based on [its] interpretation and
               application of Rule 8."166 In other words, the majority merely explicated the
               rule without weighing the costs and benefits of the standard. Other
               proponents of the plausibility standard have echoed the majority by arguing,
               for example, that Ashcroft v. Iqbal is "consistent with the vast bulk of prior


                 159. Id. at 1951-52 (alterations in original). The "obvious alternative explanation" was that "a
               legitimate policy directing law enforcement to arrest and detain individuals because of their
               suspected link to the attacks would produce a disparate, incidental impact on Arab Muslims, even
               though the purpose of the policy was to target neither Arabs nor Muslims" because "[tlhe September
               11 attacks were perpetrated by 19 Arab Muslim hijackers." Id.
                 160. Twombly, 550 U.S. 565 (internal quotation marks omitted). The term "ILEC" stands for
               incumbent local exchange carrier, and the term "CLEC" stands for competitive local exchange
               carrier. Id. at 549.
                 161. Id. at 565. The "obvious alternative explanation" was that "the former Government-
               sanctioned monopolists were sitting tight, expecting their neighbors to do the same thing" because it
               was independently in the "best interests" of each ILEC to "keep[] to their old turf." Id. at 568.
                 162. See supra notes 145-161 and accompanying text.
                 163. Iqbal, 129 S. Ct. at 1950.
                164. Id.
                165. Id. (citing Twombly, 550 U.S. at 556).
                166. Iqbal, 129 S. Ct. at 1953 (Twombly, 550 U.S. at 554).


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             precedent."' 67 Under this view, the plausibility standard is proper because it
             reflects the rule by which the Court is bound. Critics disagree.' 6 8 Criticism
             falls generally into four categories: (A) the Court raised pleading standards,
             harming plaintiffs; (B) the Court had insufficient reason to introduce the
             standard; (C) the plausibility standard has too many inherent problems; and
             (D) the Court violated rulemaking procedure by adopting the plausibility
             standard.

             A. Did the PlausibilityStandardRaise PleadingStandards,Thus Harming
                Plaintifs?

                  In Twombly, the majority assured its readers that it "d[id] not apply a
             'heightened' pleading standard."' 69 The Court did not mean that plausibility
             required no more than the no-set-of-facts test.17 0 It meant that "in practice"
             plausibility is the standard that courts have been applying all along.' 7 ' The
             Iqbal majority incorporated Twombly's reasoning in its opinion.172 Thus, it
             would not have made sense for either Court to opine about the effect an
             unchanged pleading standard would have on plaintiffs. That inquiry would


               167. Hearing,supra note 76 at 33 (prepared statement of Gregory G. Katsas, Partner, Jones Day,
             and former Assistant Att'y Gen., U.S. Dept. of Justice); Alison Frankel, Mr. Iqbal Goes to
             Washington, AM. L. LITIG. DAILY (Oct. 28, 2009), http://www.law.com/jsp/tal/digestTAL.jsp?id=12
             02435006595&MrIqbalGoesjtoWashington [hereinafter Mr. Iqbal]; Carter Wood, House Bill
             Will Overturn Iqbal, Restore Previous Pleading Standards, POLNTOFLAW.COM (Oct. 29, 2009, 3:27
             PM), http://www.pointoflaw.com/archives/ 2009/10/house-bill-will.php ("Ranking Member Jim
             Sensenbrenner (R-WI) ... sa[id] the Supreme Court merely reiterated longstanding pleading principles
             applied by lower courts since the 1950s."); Has the Supreme Court Limited Americans' Access to
             Courts?: Hearing Before the S. Comm. on the Judiciary, Illth Cong. 185 (2009) ("While
             unquestionably important, the Supreme Court's decisions in Twombly and Iqbal were hardly bolts
             from the blue. To the contrary, they are firmly grounded in decades of prior precedent at both the
             Supreme Court and federal appellate court level concerning the pleading standards under Rule 8 of
             the Federal Rules of Civil Procedure."). Even though the federal judiciary's Civil Rules Committee
             issued a report finding that "'most of the case law to date does not indicate a drastic change in
             pleading standards' as a result of the Supreme Court's lqbal ruling," Democratic senators have
             challenged its legitimacy. Alison Frankel, At Senate JudiciaryCommittee Iqbal Rollback Hearing,
             Dems Go After Former SG Garre; Federal Rules Committee Report Says No Drastic Change in
             Pleading Standards, AM. L. LITIG. DAILY (Dec. 2, 2009), http://www.law.com/jsp/tal/digestTAL.jsp?
             id=1202435984088&AtSenateJudiciaryCommitteeIqbalRollbackHearingODemsGoAfter_Fo
             rmer_SGGarreFederal RulesCommitteeReportSays NoDrasticChangeinPleadingStanda
             rds.
               168. See infra notes 169-306 and accompanying text.
               169. Twombly, 550 U.S. at 569 n.14; accord id. at 570 ("[W]e do not require heightened fact
             pleading of specifics, but only enough facts to state a claim to relief that is plausible on its face.").
               170. See id. at 561-62. It acknowledged that the no-set-of-facts approach "would dispense with
             any showing of a reasonably founded hope that a plaintiff would be able to make a case . .. ; Mr.
             Micawber's optimism would be enough." Id. at 562 (internal quotation marks omitted).
               171. Id. The majority quotes Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1006 (7th Cir.
             1984) stating that "Conley has never been interpreted literally." Id.
               172. Ashcroft v. lqbal, 129 S. Ct. 1937, 1953 (citing Twombly, 550 U.S. at 554).


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              have exceeded the Court's power because it is bound to follow the federal
              rules, regardless of whether it agrees with the rules as a matter of policy.' 73
              Furthermore, the Court's construction of plausibility provides a low
              threshold for pleadings.17 4 As such, from the Court's point of view, it would
              seem unlikely to harm plaintiffs with legitimate claims. Nevertheless, critics
              argue that the Court raised the standard and that the plausibility standard
              harms plaintiffs.
                   The plausibility standard allegedly harms plaintiffs by "closing the
              courthouse doors" to those entitled to a day in court. ' Critics generally
              perceive two ways in which the Court closed the doors: some interpret
              plausibility as judicial discretion to disbelieve the factual allegations,1 76
              while others focus on the negative consequences of requiring the complaint
              to contain factual allegations.1 77 The requirement to provide factual
              allegations is especially problematic in cases in which the evidence is in the
              possession of the defendant because the motion to dismiss occurs before the
              plaintiff has access to discovery.'      Closing the court's doors in either


                173. See supra note 69 and accompanying text.
                174. See supra notes 133-164 and accompanying text.
                175. Briggeman, supra note 3 (quoting Erwin Chemerinsky in his lecture titled "Closing the
              Courthouse Doors").
                176. See, e.g., id. ("the court's decision was based on findings that Iqbal's allegations were not
              credible" (quoting Erwin Chemerinsky)); Liptak, supra note 2 ("Under the Iqbal decision, federal
              judges will now decide at the very start of a litigation whether the plaintiff's accusations ring true,
              and they will close the courthouse door if they do not.").
                177. See infra note 178 and accompanying text.
                178. Hearing, supra note 76 at 84-85 (prepared statement of Debo P. Adegbile) ("[P]laintiffs
              typically can obtain discovery only if they survive a motion to dismiss, many will be denied the very
              tools needed to support meritorious claims, and thus wrongdoers will escape accountability. . . .
              These obstacles are particularly onerous for civil rights plaintiffs."); Liptak, supra note 2
              ("[linformation about wrongdoing is often secret. Plaintiffs claiming they were the victims of
              employment discrimination, a defective product, an antitrust conspiracy or a policy of harsh
              treatment in detention may not know exactly who harmed them and how before filing suit.");
              Frankel, supra note 7 ("Meanwhile, the plaintiffs['] lawyer representing Amanda Frey in the
              Novartis case had plenty to say about the Supreme Court's lqbal pleading standard. 'What a mess
              they have created with that,' Alyssa Magenheim of O'Connor Acciani told us. 'I think it's going to
              become an insurmountable standard if we're not careful.' The problem, she said, is that the Iqbal
              standard demands specificity that plaintiffs can't often show until they've been permitted discovery.
               'How do you have the facts unless you're an insider?' Magenheim said. 'How do you get there if
              you're not allowed to go there?'); Mauro, supra note 25 ("Under Iqbal, 'the person filing the suit
              has to get inside the head of the employer' before being given access to any documents-a Catch-22
              that will thwart valid suits, said Lisa Bornstein, senior counsel at the Leadership Conference on Civil
              Rights. 'It's really a padlock on the courthouse door."').
                     In antitrust cases, "the proof is largely in the hands of the alleged conspirators" so "dismissals
              prior to giving the plaintiff ample opportunity for discovery should be granted very sparingly."
               Twombly, 550 U.S. at 586-87 (Stevens, J., dissenting) (citing Hosp. Bldg. Co. v. Trs. of Rex Hosp.,
              425 U.S. 738, 746 (1976) and Knuth v. Erie-Crawford Dairy Coop. Ass'n, 395 F.2d 420, 423 (3d
               Cir. 1968) ("The 'liberal' approach to the consideration of antitrust complaints is important because
               inherent in such an action is the fact that all the details and specific facts relied upon cannot properly
              be set forth as part of the pleadings.")).
                     In employment and government discrimination cases, information is often in the possession of
               the defendants. Mauro, supra note 4 ("Michael Winger of Washington-based Covington &
               Burling's New York office, who is co-counsel in a class action related to the Iqbal litigation, said the


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             manner arguably violates basic civil rights,'" including the Seventh
             Amendment right to a trial by jury.s 0
                  According to critics, several arguments support the claim that Ashcroft
             v. Iqbal raised pleading standards: it is historically inconsistent with the
             reforms that gave rise to the Federal Rules of Civil Procedure;' 8 1 the Court
             has changed its rhetoric;' 82 it is part of a larger trend in Supreme Court
             opinions favoring defendants;18 3 it appears inconsistent with the forms in the
             appendix to the Federal Rules; 18 4 and the sheer number of lower court
             citations to the opinion shows that it brought a significant change.' 85
             Finally, Justice Souter's dissent in Iqbal raises concerns that the Iqbal
             decision took plausibility further than Justice Souter intended when he
             authored the Twombly opinion.186


             pleading was based on 'over a hundred depositions, giving us the kind of detail the Supreme Court
             has now said plaintiffs need. But few plaintiffs get access to such details.... I fear that this case
             will keep many victims of governmental discrimination and abuse from ever getting their day in
             court."'). This creates an impossible obstacle for plaintiffs if they need information in order to bring
             a claim. Daphne Eviatar, Has the Supreme Court Undermined Civil Rights Enforcement?, WASH.
             INDEP. (Dec. 17, 2009, 8:43 AM), http://washingtonindependent.com/71294/has-the-supreme-court-
             undermined-civil-rights-enforcement ("The Democrats' witnesses, such as Eric Schnapper, law
             professor at University of Washington and a former attorney for the NAACP Legal Defense Fund,
             countered that the two recent Supreme Court cases 'brought about sweeping changes in the lower
             courts, all for the worse.' In discrimination cases, now, so long as 'discriminatory officials do a
             good job covering their tracks, under Iqbal and Twombly they can cut off any legal challenge before
             discovery is available to unearth their records or force them to answer questions under oath,' he said.
             The new standard 'requires proof of a smoking gun,' which could doom many meritorious cases at
             the outset, he testified.").
                    Referring to Ford's disclosures about the dangers of the Pinto's gas tank and tobacco industry's
             level of disclosure regarding the effects of smoking, John Vail argued that Iqbal insulates the
             defendants best at keeping their misdeeds private. Hearing, supra note 76, at 62, 67 (prepared
             statement of John Vail) ("Iqbal undermines the idea that no person is above the law. It insulates
             persons with power from scrutiny they justly should undergo.").
               179. See Briggeman, supra note 3 (Erwin Chemerinsky argued that "rights are being taken away
             by denying a forum"); Mauro, supra note 25 ("'I have spent my whole life with the federal rules, and
             this is one of the biggest deals I have ever seen,' said New York University School of Law professor
             Arthur Miller, a longtime expert on civil procedure. 'Me, old fogy troglodyte that I am, I see serious
             problems with democratic values here, with access to the courts, with resolution of disputes with a
             jury of peers."').
               180. For an argument that the Iqbal majority's interpretation of Rule 8 is "sometimes"
             unconstitutional, see Kenneth S. Klein, Ashcroft v. Iqbal CrashesRule 8 Pleading Standards on to
             UnconstitutionalShores, 88 NEB. L. REV. 261 (2009); see also Mauro, supra note 25 ("John Vail,
             vice president of the Center for Constitutional Litigation, thinks lqbal caps a trend that verges on the
             unconstitutional, violating the Seventh Amendment's guarantee of a jury trial in civil cases. 'It
             heralds a return to the kind of legal practice Dickens condemned in Bleak House,' said Vail.").
               181. See supranotes 36-46, 56-57, 71-83, 120-64 and accompanying text and infra note 192 and
             accompanying text.
               182. See infra notes 194-201 and accompanying text.
               183. See infra notes 202-207 and accompanying text.
               184. See infra notes 208-211 and accompanying text.
               185. See infra notes 212-216 and accompanying text.
               186. See infra notes 217-226 and accompanying text.


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                    Historically, pleadings were dismissed for failure to meet highly
               technical requirements without reference to the merits of the underlying
               claim.1 7 When the Court first ruled on Rule 8 in Conley, it said that the
               purpose of the Federal Rules of Civil Procedure is to facilitate judgments on
               the merits.188 The no-set-of-facts test provided a guarantee that well-pled,
               meritorious claims would survive a motion to dismiss.'" 9 Twombly replaced
               the no-set-of-facts test with the plausibility standard.' 90 The new standard
               requires plaintiffs to provide "factual" allegations that make entitlement to
               relief "plausible"-apparently two requirements with technical meanings in
               this context.' 9' So, the plausibility standard arguably marks a return to the
               days in which judgments may turn on a technicality.192 In reality,
               plausibility is not technical; rather it is a flexible standard meaning plainly
               that the factual allegations give rise to a reasonable inference of entitlement
               to relief. 19
                    The majority's rhetoric in Iqbal does differ from the Supreme Court's
               attitude towards pleading expressed in its previous decisions.19 The tone


                187. See supra notes 36-46 and accompanying text.
                 188. See supra notes 56-57 and accompanying text.
                 189. See supra notes 56-57 and accompanying text.
                 190. See supra notes 71-83 and accompanying text.
                191. See supra notes 120-164 and accompanying text.
                192. See Hearing, supra note 76, at 63-64 (citing Charles E. Clark, The Complaint in Code
               Pleading, 35 YALE L.J. 259 (1926)) (statement of John Vail). In his Twombly dissent, Justice
               Stevens made a historical argument charting English rules, Field Codes, and the adoption of the
               federal rules of civil procedure, which he understood as "relaxed" in order "not to keep litigants out
               of court but rather to keep them in." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 573-75 (2007)
               (Stevens, J., dissenting). In this context, he expected pleadings to include "a general statement
               distinguishing the case from all others, so that the manner and form of trial and remedy expected are
               clear . . . ." Id. at 575 (quoting Charles E. Clark, The New FederalRules of Civil Procedure, 23
               A.B.A. J. 976, 977 (1937) (internal quotation marks omitted)). A general statement distinguishing
               the case from all others might include as little as a date, a location, and a legal conclusion
               (presumably also including the names of the parties). See Twombly, 550 U.S. at 576 (Stevens, J.,
               dissenting). Justice Stevens summarized that "the pleading standard the Federal Rules meant to
               codify does not require, or even invite, the pleading of facts." Id. at 580. This is notably less than
               what the majority expected when it provided a requirement of factual allegations plausibly showing
               an entitlement to relief. See supra notes 137-164 and accompanying text. The majority makes the
               counterargument that Justice Stevens "greatly oversimplifies matters by suggesting that the Federal
               Rules somehow dispensed with the pleading of facts altogether." Twombly, 550 U.S. at 556 n.3. For
               support, the majority noted that Conley v. Gibson required "grounds" in addition to "fair notice." Id.
               (citing Conley v. Gibson, 355 U.S. 41, 47 (1957)). It also cited Wright and Miller for the statement
               that Rule 8 "does not authorize a pleader's 'bare averment that he wants relief and is entitled to it."'
               Id. (quoting 5 CHARLES WRIGHT & ARTHUR MILLER, FEDERAL PRACTICE AND PROCEDURE § 1202
               (3d ed. 2004)).
                 193. See supra notes 133-164 and accompanying text.
                 194. Justice Stevens also argued that the majority's ruling was inconsistent with the Court's
               precedent in Swierkiewicz v. Sorema N. A., 534 U.S. 506 (2002). Twombly, 550 U.S. at 584-85
               (Stevens, J., dissenting). However, in Swierkiewicz, the plaintiffs were not required "to plead facts
               establishing a prima facie case because the McDonnell Douglas framework does not apply in every
               employment discrimination case." Swierkiewicz, 534 U.S. at 511. It was not, however, because
               there was no requirement to plead facts establishing a prima facie case at all. Secondly, Justice
               Stevens cited 5 WRIGHT & MILLER, supra note 192, § 1202, for the proposition that "[n]o more is
               demanded of the pleadings" than "a general summary of the party's position that is sufficient to


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             conveyed in the Iqbal rule statement arguably reflected an apparent
             preference for dismissal by listing the numerous ways that a complaint could
             fail.'" It notably refrained from mentioning "notice" or any part of the
             liberal Conley rule, even though Twombly had.19 6 Additionally, Iqbal
             rejected the Leatherman Court's approach towards controlling discovery
             costs through judicial management.197 In Iqbal, however, the Court only
             rejected careful case management as a justification for relaxing pleading
             standards, not as a legitimate practice altogether. '98 In another rhetorical
             shift, the Iqbal Court dismissed the plaintiffs claim because the allegations
             of discrimination were conclusory, despite the Swierkiewicz Court's
             statement that it had to permit "lawsuits based on conclusory allegations of
             discrimination to go forward." 99 Finally, the Swierkiewicz Court named
             "judicial interpretation" as an inappropriate way to raise pleading standards,
             but that is arguably what Twombly and Iqbal did.200 Nevertheless, the Court
             stood by its argument that it merely applied the requirements present in Rule
             8 without reinterpreting it. 201


             advise the other party of the event being sued upon, to provide some guidance in a subsequent
             proceeding as to what was decided for purpose of res judicata and collateral estoppel, and to indicate
             whether the case should be tried to the court or to a jury." Twombly, 550 U.S. at 587 n.7 (Stevens,
             J., dissenting). Wright and Miller cite only one Third Circuit opinion for the claim that no more is
             demanded indicating that it was not a widely accepted rule. 5 WRIGHT & MILLER, supra note 192, §
             1202 n.8. The majority also cited this section for the proposition that more is needed than "a bare
             averment that he wants relief and is entitled to it." Twombly, 550 U.S. at 556 n.3 (citing 5 WRIGHT
             & MILLER, supra note 192, § 1202). According to Wright and Miller, "the rules do contemplate a
             statement of circumstances, occurrences, and events in support of the claim being presented. Of
             course, great generality in the statement of these circumstances will be permitted as long as the
             defendant is given fair notice of what is claimed." 5 WRIGHT & MILLER, supra note 192, § 1215
             (footnote omitted). This demonstrates the weakness in the majority's argument. It relies on Wright
             and Miller. While Wright and Miller agreed that some facts are required, the test was whether the
             defendant is given fair notice, not whether the factual allegations plausibly show entitlement to
             relief After Twombly, Wright and Miller amended their treatise to reflect what they perceive to be
             "a new 'plausibility standard' by which pleadings should be judged" indicating that they perceive the
             plausibility standard as a change and not mere extension of precedent. 5 WRIGHT & MILLER, supra
             note 20, § 1202.
               195. See Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009).
               196. Twombly, 550 U.S. at 554-55.
               197. See Iqbal, 129 S. Ct. at 1953 (rejecting the careful-case-management approach); Leatherman
             v. Tarrant Cnty. Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 168-69 (1993) (relying
             upon summary judgment and control of discovery to weed out unmeritorious claims).
               198. Iqbal, 129 S. Ct. at 1953-54 ("We decline respondent's invitation to relax the pleading
             requirements on the ground that the Court of Appeals promises petitioners minimally intrusive
             discovery.").
               199. Id. at 1952; see also Swierkiewicz, 534 U.S. at 514-15. But see Papasan v. Allain, 478 U.S.
             265, 286 (1986) (noting that on a motion to dismiss, courts "are not bound to accept as true a legal
             conclusion couched as a factual allegation"').
               200. Swierkiewicz, 534 U.S. at 514-15.
               201. Supra note 169 and accompanying text; Iqbal, 129 S. Ct. at 1954 ("Rule 8 does not empower
             respondent to plead the bare elements of his cause of action, affix the label 'general allegation,' and


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                    Some critics also see the introduction of a plausibility standard as
               simply a part of a larger trend in Supreme Court decisions favoring
               defendants.202 The composition of the Court has changed over the years,
               making differences of opinion possible. 203 A few years ago, defendants
               benefited when the Court changed the standards by which courts render
               summary judgments. 2" Iqbal arguably makes it easier for defendants to
               delay trial or to occasionally have the complaint dismissed entirely. 205 So,
               the trend appears to have some continuity. In this vein, the Court may even
               appear sinister for hiding its secret agenda to protect corporate defendants.206


               expect his complaint to survive a motion to dismiss.").
                 202. For an argument that Iqbal "is just the latest in a long line of decisions shutting the
               courthouse doors," see Schwartz, supra note 4 ("A Supreme Court ruling in May, Ashcroft v. Iqbal,
               on how much information civil complaints in a lawsuit must contain, might seem a narrow technical
               matter, of interest only to lawyers and law journals. Yet, it is on just such 'technicalities' that the
               legal rights of victims of public or private wrongdoing often hinge. For almost four decades the
               Court's right wing has been perfecting such technicalities as legal weapons to deny Americans an
               opportunity to enforce their rights in court.") and Briggeman, supra note 3 (Erwin Chemerinsky
               argues that "a series of decisions under the Rehnquist and, now, the Roberts Supreme Courts ...
               limit access to the federal court system.").
                 203. See 5 WRIGHT & MILLER, supra note 20, § 1216 (suggesting that the "mood of the Court"
               has changed from Leatherman and Swierkiewicz to Twombly "perhaps reflecting the change in its
               composition").
                 204. Hearing, supra note 76, at 65-66 (citing Celotex Corp. v. Catrett, 477 U.S. 317 (1986),
               Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) and Matsushita Elec. Indus. Co. v. Zenith
               Radio Corp., 475 U.S. 574 (1986)) (statement of John Vail) ("The 'trilogy' of summary judgment
               opinions in 1986 took certain factual questions away from juries and probably is responsible for a
               quadrupling of the rate of cases disposed of at this stage of litigation."); see, e.g., Marcy J. Levine,
               Comment, Summary Judgment: The Majority View Undergoes a Complete Reversal in the 1986
               Supreme Court, 37 EMORY L.J. 171, 215 (1988); Adam N. Steinman, The Irrepressible Myth of
               Celotex: Reconsidering Summary Judgment Burdens Twenty Years after the Trilogy, 63 WASH. &
               LEE L. REV. 81, 82, 86-88, 143-44 (2006); see also Poller v. CBS, Inc., 368 U.S. 464, 473 (1962)
               ("Trial by affidavit is no substitute for trial by jury which so long has been the hallmark of 'even
               handed justice."'); Stephen B. Burbank, Vanishing Trials and Summary Judgment in Federal Civil
               Cases: Drifting Toward Bethlehem or Gomorrah?, 1 J. EMPIRICAL LEGAL STUD. 591, 592, 617-18
               (2004); Robert L. Rothman, Twombly and Iqbal: A License to Dismiss, 35 NO. 3 LITIG. 1, 2 (2009)
               ("Iqbal has the potential to short-circuit the adversary process by shutting the doors of federal
               courthouses around the nation to large numbers of legitimate claims based on what amounts to a
               district court judge's effectively irrefutable, subjective assessment of probable success. This is so
               notwithstanding a complaint containing well-pled factual allegations that, if allowed to proceed to
               discovery and proved true at trial, would authorize a jury to return a verdict in the plaintiff s favor."
               (footnotes omitted)). But see Mark Moller, Twombly and Iqbal: Reality Check, CATO @ LIBERTY
               (Oct. 13, 2009, 4:07 PM), http://www.cato-at-liberty.org/twombly-and-iqbal-reality-check/
               ("[Diespite anecdotal claims that Celotex prompted a significant increase in summary judgment in
               civil rights cases, the authors found 'no evidence that the likelihood of a summary judgment motion
               or termination by summary judgment has increased' in civil rights cases since 1986."). Moller
               argues that "a 2007 study by the Federal Judicial Center on the effect of a trio of similarly
               controversial 1986 Supreme Court decision (known as the 'Celotex trilogy') raises questions about
               dire claims that Twombly or Iqbal will dramatically change lower court practice." Id.
                 205. The Court in Iqbal articulated a plausibility requirement and applied it to every civil claim.
               Iqbal, 129 S. Ct. at 1949, 1953.
                 206. See, e.g., Bell Atl. Corp. v. Twombly, 550 U.S. 544, 596 (2007) (Stevens, J., dissenting)
               ("The transparent policy concern that drives the [Twombly] decision is the interest in protecting
               antitrust defendants-who in this case are some of the wealthiest corporations in our economy-
               from the burdens of pretrial discovery."). The defense-bar supports the plausibility standard and
               they have a primary duty to win cases for their clients, not to improve law for the public. Id. at 595;


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             On the other hand, if the Court merely applied Rule 8, then these criticisms
             are impotent because the Court is not at liberty to change the rules based on
             its own judgment about the desirability of certain consequences.207
                  In his dissent from Twombly, Justice Stevens argued that the model
             complaint for negligence reflects the notice standard, rather than the
             plausibility standard.208 Further still, an argument could be made that the
             model complaint would not survive a motion to dismiss under the
             plausibility standard.2 09 If the model complaint would not survive, then
             Iqbal clearly modified the pleading procedure in violation of the rulemaking
             process. Moreover, plausibility would be inconsistent with the Federal
             Rules, which the model complaint is designed to reflect. In Twombly, the
             Court responded to this criticism by emphasizing that the model complaint
             provides sufficient notice to the defendant and by applying the plausibility
             standard such that the model complaint would be deemed in compliance.210
             This response may be unsatisfactorily circular but it does seem to vitiate the
             criticism by circumventing the premise that the model complaint would not
             survive under the plausibility standard.21 '


             see also Wood, supra note 167 (Chairman of the House Judiciary Subcommittee, Jerrold Nadler (D-
             NY), said, "[t]his is another wholly invented new rule, overturning 50 years of precedent, designed
             to close the courthouse doors. This combines with tightened standing rules, and cramped readings of
             existing remedies, to implement this conservative Court's agenda to deny access to the courts to
             people victimized by corporate or government misconduct. This is judicial activism at its worst-
             judicial usurpation of the procedures set forth for amendment [of] the Federal Rules of Civil
             Procedure.").
               207. See infra notes 297-305 and accompanying text.
               208. See Twombly, 550 U.S. at 590 (Stevens, J., dissenting). In Twombly, the majority
             distinguished between that plaintiff's complaint and the model complaint on the basis that:
                   Whereas the model form alleges that the defendant struck the plaintiff with his car while
                   plaintiff was crossing a particular highway at a specified date and time, the complaint
                   here furnishes no clue as to which of the four ILECs (much less which of their
                   employees) supposedly agreed, or when and where the illicit agreement took place. A
                   defendant wishing to prepare an answer in the simple fact pattern laid out in Form [Il]
                   would know what to answer; a defendant seeking to respond to plaintiffs' conclusory
                   allegations in the § 1 context would have little idea where to begin.
             Id. at 565 n.10 (majority opinion). This explanation sounds very close to the notice standard of
             pleading which asks whether the complaint gives the defendant "fair notice of what the plaintiffs
             claim is and the grounds upon which it rests." See Conley v. Gibson, 355 U.S. 41, 47 (1957),
             abrogatedby Twombly, 550 U.S. at 560-63. But if fair notice is enough, then why does the majority
             also require allegations plausibly suggesting entitlement to relief? See Twombly, 550 U.S. at 557.
             The Supreme Court evaded the obvious question. See id at 565 n. 10.
               209. If a judge deemed "negligently" to be a conclusory term and evaluated the allegation that a
             "defendant ... drove his motor vehicle against the plaintiff' for plausibility, she may conclude that
             the alternative explanation (discussed supra note 154) constituted an obvious alternative explanation.
             The existence of an obvious alternative explanation renders a claim insufficient. See supra text
             accompanying note 155. So, given these conditions, the model complaint for negligence would not
              survive a motion to dismiss under the plausibility standard.
               210. See supra note 208 (explaining the Twombly majority's response to this criticism).
               211. If the model complaint for negligence meets the requirements of the plausibility standard,


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                    Pursuant to Iqbal, federal courts quickly reassessed the standard by
               which they must evaluate motions to dismiss.212 Consequently, lower court
               opinions have cited Iqbal an incredible number of times in just a few
               months.213 As of February 15, 2010, it had been cited 5,548 times by lower
               courts.214 The difficulty is that these numbers may not be informative
               because the large number of citations to Iqbal does not necessarily indicate
               that a complaint is more likely to be dismissed.2 15 In the meantime, legal
               professionals must meet the plausibility standard. Empirical data collection
               currently underway will better equip the judiciary and legal professionals to
               understand the relevance of these numbers.21 6
                    Justice Souter's dissent requires explanation because he wrote the
               opinion in Bell Atlantic Corp. v. Twombly.21" When the Court took up the
               question about whether Twombly applied outside of antitrust, 218 Justice
               Souter called the Iqbal decision into question.219 Most importantly,


               then the standard must be fairly low. See supra note 154 and accompanying text. That fact should
               console Justice Stevens. It may be understandably frustrating when one does not receive a direct
               response to a logically valid argument. Nonetheless, one cannot pin down the majority when it is the
               same members who articulate the standard and interpret it in practice.
                 212. See Liptak, supra note 2.
                 213. See id. ("[T]he lower courts have certainly understood the significance of the decision,
               Ashcroft v. Iqbal, which makes it much easier for judges to dismiss civil lawsuits right after they are
               filed. They have cited it more than 500 times in just the last two months."); David Ingram, Former
               Solicitor General Feels Senators' Wrath Over Supreme Court's 'Iqbal' Ruling, NAT'L L.J. (Dec. 03,
               2009), http://www.law.com/jsp/scm/PubArticleSCM.jsp?id=1202436006825&Former_SolicitorGeneral
               Feels_-SenatorsWrathOverSupremeCourtsIqbalRuling ("There were more than 1,500 district
               court decisions related to Iqbal in the four months after it came down in May."); Mauro, supra note
               25 ("With remarkable speed and success, 'Iqbal motions' to dismiss because of insufficient
               pleadings have become commonplace in federal courts, already producing more than 1,500 district
               court and 100 appellate court decisions according to a Westlaw search. Many more are pending.");
               Schwartz, supra note 4 ("In the few months since the decision in Iqbal came down, it has resulted in
               the dismissal of 1500 District Court and 100 appellate court cases, many if not most of which would
               probably have survived; more dismissal motions are pending."). Even Gregory Garre, the lawyer
               who won the case, admits that "[t]he decision is being cited an extraordinary number of times by
               defense counsel. And courts are coming out with decisions on both sides." Frankel, Mr. Iqbal,
               supra note 167 (reporting that Iqbal has been cited in almost 3,000 lower court rulings in just five
               months on the books); Briggeman, supra note 3 ("[I]n January, there were already 6,000 federal
               court cases in which Ashcroft v. lqbal was cited.").
                 214. According to Westlaw's Key Cite display (Feb. 15, 2010).
                 215, Mauro, supra note 25 ("U.S. District Judge Mark Kravitz of Connecticut, who chairs the
               influential Judicial Conference Advisory Committee on Civil Rules, said his committee is
               monitoring the impact of Iqbal and Twombly with an eye toward gathering data and discussing later
               this year whether rule changes are needed. 'We ought to be deliberate about it,' Kravitz said in his
               first comments to the press about the Iqbal issue. So far, he told The National Law Journal, his
               sense is that judges are 'taking a fairly nuanced view of Iqbal' and that it is not yet 'a blockbuster
               that gets rid of any case that is filed.' . . . Indeed, not all judges are rubber-stamping Iqbal motions.
               During a hearing Aug. 10 in an employment discrimination case, Senior Judge Milton Shadur of the
               U.S. District Court for the Northern District of Illinois told defense lawyers that Iqbal and Twombly
               'don't operate as a kind of universal "get out of jail free" card."').
                 216. Id.
                 217. Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).
                 218. Ashcroft v. lqbal, 129 S. Ct. 1937, 1953 (2009).
                 219. Id. at 1954 (Souter, J., dissenting).


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              however, he did not dissent because he disagreed with the finding that
              Twombly applied to every civil case. 220 He dissented in part because he
              disagreed with the majority's decision to rule on an issue unrelated to the
              plausibility standard.22 1 When he reached his point of disagreement
              regarding the sufficiency of Iqbal's complaint under Rule 8, Justice Souter
              did not disagree with the standard applied by the majority. 222 He disagreed
              with its application of the first prong.223
                   Justice Souter used the same rule as the majority stating that "[u]nder
              Twombly, the relevant question is whether, assuming the factual allegations
              are true, the plaintiff has stated a ground for relief that is plausible. That is,
              in Twombly's words, a plaintiff must 'allege facts' that, taken as true, are
              'suggestive of illegal conduct."' 2 2 4 In Iqbal, he believed that the majority
              had incorrectly identified the allegations in Iqbal's complaint as
              conclusory. 225 He agreed with the majority's second-prong analysis that,
              given the factual allegations identified, the complaint did not state a
              plausible claim.226 Justice Souter just would have identified some additional
              allegations as factual.227 What is really remarkable is that Justices Stevens,
              Ginsburg, and Breyer all joined in Souter's opinion.22 8 Justices Stevens and
              Ginsburg objected to the plausibility standard in Twombly. 229 But now, all
              nine Justices have essentially adopted the plausibility standard.230



                220. See id.
                221. Id. at 1956-57 ("[Djeciding the scope of supervisory Bivens liability in this case is uncalled
              for.").
                222. Id. at 1960 ("I do not understand the majority to disagree with this understanding of
              'plausibility' under Twombly.").
                223. Id.
                224. Id. at 1959.
                225. Id. at 1960.
                226. Id.
                227. Id. Justice Souter said that the following should have been considered nonconclusory:
              "Ashcroft was the 'principal architect' of the discriminatory policy;" "Mueller was 'instrumental' in
              adopting and executing the discriminatory policy;" and "Ashcroft and Mueller 'knew of, condoned,
              and willfully and maliciously agreed to subject' Iqbal to harsh conditions 'as a matter of policy,
              solely on account of [his] religion, race, and/or national origin and for no legitimate penological
              interest."' Id. He seems to be correct about the first two statements because those are specific to the
              factual setting out of which the case arose. See supra notes 129-132 and accompanying text. The
              last allegation, however, appears to be nothing more than a recital of the elements of the claim. So,
              it should rightly be considered conclusory. See supra notes 129-132 and accompanying text. Even
              if the first two allegations were considered factual, the result would likely have been the same
              because the obvious alternative explanation still applies, even when it is admitted that Ashcroft was
              the principal architect and Mueller was instrumental in adopting and executing the policy. See supra
              notes 158-161 and accompanying text.
                228. Iqbal, 129 S. Ct. at 1954 (Souter, J., dissenting).
                229. Bell Ail. Corp. v. Twombly, 550 U.S. 544, 576-78 (2007) (Stevens, J., dissenting).
                230. See Iqbal, 129 S. Ct. at 1949; id. at 1959 (Souter, J., dissenting).


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                    The dissent really amounts to a disagreement about the substantive law.
                The Iqbal complaint contained the conclusory allegation:

                      Defendants ASHCROFT, MUELLER, SAWYER, RARDIN,
                      COOKSEY, HASTY, ZENK, THOMAS, SHERMAN, LOPRESTI,
                      and SHACKS each knew of, condoned, and willfully and
                      maliciously agreed to subject Plaintiffs to these conditions of
                      confinement as a matter of policy, solely on account of their
                      religion, race, and/or national origin and for no legitimate
                      penological interest. 231
                Turning the factual allegations against Ashcroft and Mueller, one finds only
                allegations that they directed and authorized the arrest and detainment of
                many Arab Muslim men following the attacks on September 11, 2001.232
                The factual allegations of wrongful conduct by others could not be imputed
                to Ashcroft and Mueller, which is why the Court needed to determine
                whether supervisory liability was available.233 The facts alleged against
                Ashcroft and Mueller, therefore, showed nothing more than that Ashcroft
                and Mueller's policies had a disproportionate impact on Arab-Muslim men.
                The Court has already established that showing a disproportionate impact is
                not enough to entitle a plaintiff to relief for claimed discrimination. 2 34 The
                complaint might be remedied by showing an actual "invidious
                discrimination purpose" or that such a purpose may "be inferred from the
                totality of the relevant facts, including the fact, if it is true, that the law bears
                more heavily on one race than another." 2 35 As it stood before the Court,
                however, the factual allegations were insufficient. The minority, therefore,
                disagreed about whether showing a disproportionate impact was enough and
                how the plausibility standard was applied, but not about the plausibility
                standard itself.
                     The Iqbal Court, in fact, did not change the standard by which the
                sufficiency of a complaint is assessed under Rule 8(a)(2). Ever since 1957,
                the Supreme Court has required complaints to state the "grounds" upon
                which the claim rests. 23 6 There was tension between the literal no-set-of-
                facts test and the requirement that a plaintiff provide grounds.237 By retiring


                 231. First Amended Complaint and Jury Demand, supra note 102,196.
                 232. See id. 1177-193.
                  233. See Iqbal, 129 S. Ct. at 1948.
                 234. Washington v. Davis, 426 U.S. 229, 242 (1976) ("[W]e have not held that a law, neutral on
                its face and serving ends otherwise within the power of government to pursue, is invalid under the
                Equal Protection Clause simply because it may affect a greater proportion of one race than of
                another. Disproportionate impact is not irrelevant, but it is not the sole touchstone of an invidious
                racial discrimination forbidden by the Constitution."). Justice Stevens's concurrence in Washington
                v. Davis explains why he dissented in Iqbal; to Stevens, showing a disproportionate impact is
                sufficient. Id. at 253-54 (Stevens, J., concurring).
                  235. Id.
                 236. Conley v. Gibson, 355 U.S. 41,47 (1957), abrogatedby Twombly, 550 U.S. at 560-63.
                  237. Twombly, 550 U.S. at 561.


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              the no-set-of-facts test, the Court resolved this tension.238 Thereafter, Iqbal
              established a new two-pronged approach to determine whether a complaint
              satisfies Rule 8, but applied the same standard that has been applied since
              Conley.239
                    In Iqbal, the Court held that the complaint "fail[ed] to plead sufficient
              facts to state a claim" 240-a familiar phrase describing one widely-accepted
              justification for dismissal. 241 Notably, this would not be an acceptable
              justification for dismissing a complaint under the literal no-set-of-facts
              test. 242 Consistent with years of precedent, sufficient pleading of fact is
              exactly what the plausibility standard requires. 243 Conclusory allegations are
              not enough. 24 Plaintiffs must provide a minimal statement of the factual
                                                     24 5
              grounds upon which their claims rest.

              B. Did the Court have Sufficient Reason to Adopt the Plausibility
                 Standard?

                  The rules should not be changed without sufficient reason.2 46 Although
              the Court claims to have derived the plausibility standard from Rule 8, it
              seemed to sympathize with the idea that the costs of litigation can be too


                238. See id.
                239. Supra note 116 and accompanying text.
                240. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1954 (2009).
                241. See, e.g., Powell v. McCormack, 395 U.S. 486, 498 (1944); Ward v. Avaya, Inc., 299 Fed.
              Appx. 196, 199 (3d Cir. 2008); Learner v. Fleet Bank, N.A., 459 F.3d 273, 278 (2d Cir. 2006);
              Estades-Negroni v. CPC Hosp. San Juan Capestrano, 412 F.3d 1, 6 (1st Cir. 2005); Plotkin v. IP
              Axess Inc., 407 F.3d 690, 702 (5th Cir. 2005) (complaint did not fail, but the court recognizing by
              implication that a complaint may fail to plead sufficient fact); Varner v. Peterson Farms, 371 F.3d
              1011, 1020 (8th Cir. 2004) (also stating that legal conclusions are not entitled to an assumption of
              truth); Grippo v. Perazzo 357 F.3d 1218, 1223-24 (11th Cir. 2004) (complaint did not fail, but the
              court recognizing by implication that a complaint may fail to plead sufficient fact); Great Plains
              Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 319 (5th Cir. 2002); Endsley v. City
              of Chi., 230 F.3d 276, 282 (7th Cir. 2000); Davis v. Hall, 992 F.2d 151, 152 (8th Cir. 1993); United
              States v. 4492 S. Livonia Rd., 889 F.2d 1258, 1266 (2d Cir. 1989) (complaint did not fail, but the
              court recognized by implication that a complaint may fail to plead sufficient fact); United States v.
              Staggs, 881 F.2d 1527 (10th Cir. 1989) ("This court has frequently sustained the dismissal of civil
              actions for failure to plead sufficient facts, notwithstanding the absence of Fifth Amendment grand
              jury concerns and Sixth Amendment notice concerns, the liberal pleading practices permitted by
              Rule 8 of the Federal Rules of Civil Procedure, and the availability of broad discovery in civil
              cases."). But see, e.g., United Steelworkers of Am. v. Or. Steel Mills, Inc., 322 F.3d 1222, 1228
              (10th Cir. 2003) (applying the no-set-of-facts test); Fuentes v. S. Hills Cardiology, 946 F.2d 196,
              201 (3d Cir. 1991) (applying the no-set-of-facts test).
                242. See supra note 76 and accompanying text.
                243. Iqbal, 129 S. Ct. at 1949, 1951 (citing Twombly, 550 U.S. at 570).
                244. See id.
                245. Id.; see also supra note 162 and accompanying text.
                246. Baker, supranote 48, at 334 ("[TJhe fundamental tenet of rulemaking should be that no rules
              be changed unless there is good reason and substantial need.").


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                burdensome for defendants.247 Consequently, critics argue that the Court
                silently reinterpreted Rule 8 to reduce the costs of litigation. 248 First, the
                Court's critics argue that the cost of litigation should not be a factor in the
                Court's interpretation of Rule 8.249 Second, they argue that, even if
                litigation costs are a factor worthy of consideration, the benefits of a
                plausibility standard simply do not outweigh the costs. 2 5 0
                      The plausibility standard and the liberal no-set-of-facts standard each
                have costs and benefits. The primary cost associated with the plausibility
                standard is the risk of dismissing or deterring meritorious claims by
                requiring factual allegations. 25 1 The height of that cost depends upon how
                much risk really exists. Under the relatively low plausibility standard, that
                risk is fairly low, unless the plaintiff is truly unable to obtain the information
                necessary to make factual allegations.2 52 The primary benefit of the
                plausibility standard is that it conserves the resources of parties defending
                against lawsuits and of the courts responsible for adjudication. 253 Discovery
                has become more expensive for defendants than it was when the Federal
                Rules were created, especially since the advent of the computer.254 The


                  247. Justice Kennedy argues that "costs in terms of efficiency and expenditure of valuable time
                and resources" are an important concern for the Court. Iqbal, 129 S. Ct. at 1953. For an argument
                that "Twombly was not revolutionary, but simply part of the Court's ever-expanding application of
                the familiar three-factor Mathews v. Eldridge test, used to determine whether procedural due process
                requires adopting a procedural safeguard," see Andrew Blair-Stanek, Twombly is the Logical
                Extension of the Mathews v. Eldridge Test to Discovery, 62 FLA. L. REV. 1 (2010).
                  248. See, e.g., Twombly, 550 U.S. at 584 (Stevens, J., dissenting).
                  249. In his dissenting opinion in Twombly, Justice Stevens advocated against "craft[ing] a
                standard for pleading municipal liability that accounted for 'the enormous expenses involved today
                in litigation"' arguing that "[w]riting for the unanimous Court, Chief Justice Rehnquist rebuffed the
                Fifth Circuit's effort" in Leatherman. Id. (citing Leatherman v. Tarrant Cnty. Narcotics Intelligence
                & Coordination Unit, 507 U.S. 163 (1993)); accord id. at 586 ("[Flear of the burdens of litigation
                does not justify factual conclusions supported only by lawyers' arguments rather than sworn denials
                or admissible evidence.").
                  250. Hearing, supra note 76 at 85-86 (citing Robert G. Bone, PlausibilityPleading Revisited and
                Revised: A Comment on Ashcroft v. Iqbal, 85 NOTRE DAME L. REv. 849, 878 (2010) ("Strict
                pleading can produce screening benefits for some cases, but it does so in a relatively crude way and
                at an uncertain and potentially high cost. The most serious cost involves screening meritorious suits.
                In cases like Iqbal, where the defendant has critical private information, the plaintiff will not get past
                the pleading stage if she cannot ferret out enough facts before filing to get over the merits threshold
                for each of the elements of her claim. As a result, strict pleading will screen some meritorious suits,
                even ones with a high probability of trial success but a probability that is not evident at the pleading
                stage before access to discovery.")) (prepared statement of Debo P. Adegbile).
                  251. See supranotes 175-177 and accompanying text.
                  252. See supranotes 145-161, 178 and accompanying text.
                  253. District courts are facing steadily increasing caseloads. 5 WRIGHT & MILLER, supra note 20,
                § 1029. The cost of discovery may be limited to reduce costs. See, e.g., Jackson v. Cnty. of
                Sacramento, 175 F.R.D. 653 (E.D. Cal. 1997). The plausibility standard allows a judge to dismiss
                the case before discovery occurs and before trial costs are incurred.
                  254. See Smith, supra note 91, at 1094-97. "[T]he runaway cost of e-discovery is perhaps the
                single most important problem in civil litigation today" because the amount of information subject to
                discovery has increased as has the cost of retrieving that information. Should the lqbal Pleading
                StandardBe Overruled?, Interview with Gregory Katsas, former Assistant Attorney General for the
                Civil Division of the Justice Department, METRO. CORP. COUNSEL (Dec. 01, 2009) [hereinafter
                Katras Interview], http://www.metrocorpcounsel.com/curnent.php?artType-view&artMonth=December


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              expense of discovery also increases the opportunity for discovery abuse,
              which occurs when plaintiffs file weak claims and implicitly threaten to run
              up discovery costs to increase the settlement value of the lawsuit.2 55
              Evidence suggests that the cost of defending lawsuits can become a boon to
              corporations responsible for providing jobs and improving the economy.25 6
              Lawsuits against government officials can divert and discourage them from
              performing their public function.257 Iqbal even implicates concerns about


              &artYear-2009&EntryNo=10398 (estimating that the costs can be "millions, if not tens of millions,
              of dollars of out-of-pocket and non-reimbursable expense, not counting the defendant's additional
              and non-reimbursable opportunity costs"); see also Steuer, supra note 90, at 862 (citing David
              Walton, Machine Dreams, N.Y. TIMES, Oct. 3, 2004, § 7, at 35) ("Through the decades, discovery
              itself change dramatically. When the Federal Rules of Civil Procedure were adopted in 1938,
              photostats were only thirty years old and xerography had not quite been invented. The creators of
              the concept of liberal discovery could not possibly contemplate the nature or volume of the
              electronic data and documents that would proliferate seventy years later."); Liptak, supra note 2
              ("Mark Herrmann, a corporate defense lawyer with Jones Day in Chicago, said the Iqbal decision
              will allow for the dismissal of cases that would otherwise have subjected defendants to millions of
              dollars in discovery costs.").
                255. Discovery abuse occurs because defendants facing discovery are "sorely tempted to settle
              even meritless claims for large sums of money, simply to avoid the various costs of discovery."
              Katsas Interview, supra note 254; see also William McGurn, Terror by TrialLawyer, WALL ST. J.,
              (Nov. 30, 2009, 10:53 PM), http://online.wsj.com/article/SB200014240527487039394045745681
              30713843644.html ("Rightly used, discovery allows lawyers from both sides to gain access to
              evidence-documents, email, depositions, etc.-that support their case. In practice it can be abused,
              as when lawyers use discovery to go fishing for a case they don't have. And because compliance
              alone can be expensive and time-consuming, many companies find it cheaper to settle."); Liptak,
              supra note 2 ("For more than half a century ... plaintiffs were entitled to force defendants to open
              their files and submit to questioning under oath. This approach, particularly when coupled with the
              American requirement that each side pay its own lawyers no matter who wins, gave plaintiffs
              settlement leverage. Just by filing a lawsuit, a plaintiff could subject a defendant to great cost and
              inconvenience in the pre-trial fact-finding process called discovery."); Mauro, supra note 4
              ("Michael Carvin, a partner in the Washington office of Jones Day and a frequent litigator on behalf
              of companies, countered that Iqbal has been 'very beneficial' in 'slowing the major abuse of
              litigation against corporations.' He said, 'You can't just throw mud against the wall. You have to
              have some theory of the case.' Under the previous rule, companies contend, plaintiffs would state
              frivolous claims in hopes that companies would settle rather than face expensive discovery.");
              Ingram, supra note 213 ("Sen. Jeff Sessions, R-Ala., the committee's top Republican, was the sole
              senator in the room defending Garre's position. He said plaintiffs have too often abused the civil
              justice system. 'We really ought to tighten up this thing a bit,' he said.").
                256. COUNCIL OF ECONOMIC ADVISERS TO THE PRESIDENT OF THE UNITED STATES, THE
              ECONOMIC REPORT OF THE PRESIDENT (2005) [hereinafter ECONOMIC REPORT OF THE PRESIDENT].
              "Our litigation system encourages junk lawsuits and harms our economy." Id. at 4; see also McGurn,
              supra note 255 ("The U.S. Chamber of Commerce naturally opposes the bill, saying it would impose
              a hefty 'litigation tax' on American business and encourage frivolous lawsuits."). But see Hearing,
              supra note 76, at 68 (citing EMERY G. LEE, III & THOMAS WILLING, FEDERAL JUDICIAL CENTER,
              NATIONAL CASE-BASED CIVIL RULES SURVEY, PRELIMINARY REPORT TO THE FEDERAL JUDICIAL
              CONFERENCE ADVISORY COMMITTEE ON CIVIL RULES (Oct. 2009)) ("Available empirical
              information belies the premise [that costs of discovery are a troublesome drag on certain litigants
              and a drag on the economy.]") (statement of John Vail). For arguments on both sides of the tort
              reform debate, see generally PAUL RUSCHMANN, TORT REFORM (2006).
               257. Eviatar, supra note 178 ("When it comes to cases against government officials, such as


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                national security.258 Additionally, the courts have to spend time and public
                money to process and adjudicate frivolous lawsuits. 25 9 Requiring plaintiffs
                to make a plausible showing on the pleadings may reduce each of these costs
                by deterring frivolous and otherwise unsubstantiated lawsuits.260
                     The careful-case-management approach is the most prominent
                alternative method suggested for limiting the costs of discovery.261 In fact,
                Justice Breyer wrote a separate dissent just to make this point.262 In recent
                years, however, the Court has been largely averse to the case-management
                                                                      263          so iea
                approach because it has been ineffective in practice.     Supporters of liberal
                pleading standards have expressed greater confidence in the ability to curb
                costs through case management.           Still, the Court stressed that case


                Iqbal-which alleged that senior Bush administration officials discriminated against Muslims by
                improperly detaining them after the Sept. 11 terrorist attacks-'such discovery would vitiate an
                important component of the officials' qualified immunity' even where the claims are against
                individual government officials 'for actions undertaken to prosecute wars abroad or to respond to
                national security emergencies at home,' said [Gregory] Katsas. 'Such a result,' he added, 'would be
                paralyzing if not deadly."'); Adam Liptak, Justices Hear a Case Weighted by 9/11, N.Y. TIMES
                (Dec.     10, 2008), http://www.nytimes.com/2008/12/ll/washington/llscotus.html?_r-1&fta=y
                ("Justice John Paul Stevens suggested that he was uneasy about lightly letting claims against high
                officials proceed, mentioning his majority opinion in Clinton v. Jones, the 1997 decision that
                allowed Paula Jones's sexual harassment case against President Bill Clinton to go forward. A
                prediction in that decision about the burden the suit would place on the president-'it appears to us
                highly unlikely to occupy any substantial amount of the petitioner's time'-tumed out to be
                incorrect.").
                 258. See Iqbal v. Hasty, 490 F.3d 143, 179 (2d Cir. 2007) (Cabranes, J., concurring). Iqbal
                implicates the "national interest in enabling Cabinet officers with responsibilities in the national
                security area to perform their sensitive duties with decisiveness and without potentially ruinous
                hesitation." Id. (quoting Mitchell v. Forsyth, 472 U.S. 511, 541 (1985) (Stevens, J., concurring));
                see also McGurn, supra note 255 ("We know that al Qaeda operatives are trained to claim abuse
                when they are captured. If Mr. Specter's legislation succeeds, what is to prevent them from alleging
                all sorts of violations so they can go on discovery expeditions against, say, Gen. David Petraeus or
                Defense Secretary Robert Gates? And how would that affect the ability of these men to prosecute
                the war?"). For a debate between Senator Arlen Spector and Senator Jeff Sessions on this issue, see
                Restoring Justice or Hurting National Security?, WALL ST. J. (Dec. 6, 2009),
                                                                                               43
                http://online.wsj.com/article/SB10001424052748704007804574573771092340 0.html.
                  259. Enright v. Auto-Owners Ins. Co., 2 F. Supp. 2d 1072, 1076 n.2 (N.D. Ind. 1998) (noting that
                each federal judge costs taxpayers about $900 per hour); CHRISTOPHER E. SMITH, JUDICIAL SELF-
                INTEREST 23 (1995).
                  260. See supra note 255 and accompanying text.
                  261. See, e.g., Ashcroft v. Iqbal, 129 S. Ct. 1937, 1961-62 (2009) (Breyer, J., dissenting).
                  262. Id.
                  263. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 559-60 (criticizing the careful-case-
                management approach); Iqbal, 129 S. Ct. at 1953 (rejecting the careful-case-management approach).
                Gregory Katsas offered an example of "limited discovery" showing that "[it sounds good in the
                abstract, but in practice discovery inevitable tends to expand." Katsas Interview, supra note 254.
                  264. Edward D. Cavanagh, Twombly, the Federal Rules of Civil Procedure and the Courts, 82
                ST. JOHN'S L. REV. 877, 879 (2008) ("[T]he Court's assertion that judges cannot effectively control
                litigation costs because the parties-not the courts-control claims and defenses as well as the
                nature and amount of discovery in any given case is contrary to fact."); see also Twombly, 550 U.S.
                at 595 n.13 (Stevens, J., dissenting) ("The Court vastly underestimates a district court's case-
                management arsenal."); Iqbal, 129 S. Ct. at 1961-62 (Breyer, J., dissenting) ("The law ... provides
                trial courts with other legal weapons designed to prevent unwarranted interference. As the Second
                Circuit explained, where a Government defendant asserts a qualified immunity defense, a trial court,
                responsible for managing a case and 'mindful of the need to vindicate the purpose of the qualified


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              management is to be used to prevent excessive costs, but not as a
              justification for allowing implausible claims to proceed further than
              necessary.265 As long as the Court resists modifying the rules by judicial
              interpretation, this response is most appropriate because it respects the
              deference due to the requirements of the rule itself.266 Ironically, the Court
               and many of its critics agree on this point.267 Even if the Court did assess
              the consequences of the plausibility standard, the stated purpose of the rules
              is to "secure the just, speedy, and inexpensive determination of every action
               and proceeding."2 68 Rule 8 and the Iqbal interpretation arguably strike a
              reasonable balance between a plaintiffs need for a determination on the
              merits and a defendant's need to avoid unnecessary costs related to
               discovery abuse and defending against frivolous claims aiming to secure
              both the just and the inexpensive determination of every civil action.269
                    The critics also argue that the Court does not have sufficient reason for
               adopting a plausibility standard at the dismissal stage because other avenues



              immunity defense,' can construct discovery in ways that diminish the risk of imposing unwarranted
              burdens upon public officials. A district court, for example, can begin discovery with lower level
              government defendants before determining whether a case can be made to allow discovery related to
              higher level government officials." (citation omitted)). But see Twombly, 550 U.S. at 559 ("It is no
              answer to say that a claim just shy of a plausible entitlement to relief can, if groundless, be weeded
              out early in the discovery process through 'careful case management,' given the common lament that
              the success of judicial supervision in checking discovery abuse has been on the modest side."
              (citation omitted)); id. (citing Frank Easterbrook, Discovery as Abuse, 69 B.U. L. REv. 635, 638
              (1989)) ("Judges can do little about imposition discovery when parties control the legal claims to be
              presented and conduct the discovery themselves."); Iqbal, 129 S. Ct. at 1953 ("It is no answer to
              these concerns [about the diversion of a Government official from his or her duties] to say that
              discovery for petitioners can be deferred while pretrial proceedings continue for other defendants. It
              is quite likely that, when discovery as to the other parties proceeds, it would prove necessary for
              petitioners and their counsel to participate in the process to ensure the case does not develop in a
              misleading or slanted way that causes prejudice to their position. Even if petitioners are not yet
              themselves subject to discovery orders, then, they would not be free from the burdens of
              discovery.").
                265. Iqbal, 129 S. Ct. at 1953.
                266. See id.
                267. Compare supra note 249 and accompanying text with supra note 265 and accompanying text.
                268. FED. R. CIv. P. 1.
                269. See supra notes 251-268 and accompanying text. Still, it is helpful to keep in mind the
              Seventh Circuit's expression of reluctance to sacrifice justice in order to promote the inexpensive
              determination:
                     Pressure from the flux of cases makes early disposition of weak claims attractive, freeing
                     judicial time for others that appear to have superior prospects. Matters that formerly
                     were tried now are resolved by summary judgment. But the next time-saving step--
                     resolving under Rule 12(b)(6) matters that formerly were handled by summary
                     judgment-is incompatible with the Rules of Civil Procedure. Litigants are entitled to
                     discovery before being put to their proof, and treating the allegations of the complaint as
                     a statement of the party's proof leads to windy complaints and defeats the function of
                     Rule 8.
              Bennett v. Schmidt, 153 F.3d 516, 519 (7th Cir. 1998).


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                exist to protect defendants.
                     If the pleadings are too vague or ambiguous, the defendant may move
                for a more definite statement. 270 The defendant may simply deny the
                allegations and allow the plaintiff to produce its evidence. 271 Finally, the
                defendant may move for summary judgment under Rule 56 if the plaintiff is
                unable to substantiate its claims.272 On the other hand, when pleadings are
                dismissed for failure to state a claim, the plaintiff may request leave to
                amend.273 Courts are instructed to grant leave to amend freely and in
                accordance with justice.274 So, protections exist for plaintiffs as well. This
                gives the courts significant flexibility to pursue justice through various
                procedural avenues. 275 The protections afforded to plaintiffs do not give the
                Court license to change the rules of procedure, but they do alleviate concern
                that requiring plausibility does substantial injustice.

                C. Are There Too Many Difficulties in the Application of the Plausibility
                   Standard?
                     Much of the criticism has to do with the plausibility standard itself. The
                first prong of the plausibility standard requires reviewing courts to


                  270. FED. R. CIv. P. 12(e); Swierkiewicz v. Sorema N. A., 534 U.S. 506, 514 (2002) ("If a
                pleading fails to specify the allegations in a manner that provides sufficient notice, a defendant can
                move for a more definite statement under Rule 12(e) before responding."); Bell AtI. Corp. v.
                Twombly, 550 U.S. 544, 590, n.9 (2007) (Stevens, J., dissenting) ("The remedy for an allegation
                lacking sufficient specificity to provide adequate notice is, of course, a Rule 12(e) motion for a more
                definite statement."); see also 61A AM. JUR. 2D Pleading§ 478 (2009) (stating that ifa complaint
                fails to state a claim under Rule 8, "a defendant's motion for a more definite statement should be
                granted.").
                  271. Even if the complaint does not point to a specific event, "[a] defendant could, of course,
                begin by either denying or admitting the charge." Twombly, 550 U.S. at 593 n.12 (Stevens, J.,
                dissenting).
                  272. FED. R. Civ. P. 56; Swierkiewicz, 534 U.S. at 513-14 ("[C]laims lacking merit may be dealt
                with through summary judgment under Rule 56.").
                  273. FED. R. Civ. P. 15(a)(l)-(2).
                       [I]f the requisite allegations are not in the complaint and a motion to dismiss for failure to
                      state a claim upon which relief may be granted is made under Rule 12(b)(6), the pleader
                      should be given the opportunity to amend the complaint, if she can, to show the existence
                      of the missing elements."
                5 WRIGHT & MILLER, supra note 20, § 1216.
                  274. FED. R. CIV. P. 15(a)(2).
                  275. See e.g., Shah v. Inter-Cont'l Hotel Chi. Operating Co., 314 F.3d 278, 282 (7th Cir. 2002)
                ("True, the defendant might be quite unsure what statute, state or federal, or common law principle
                the conduct alleged in the complaint might violate, but he could smoke out the plaintiffs theory of
                the case by serving a contention interrogatory on him. Or the judge, if skeptical that there was any
                legal basis for such a complaint, could on his own initiative asked the plaintiff to file a supporting
                legal memorandum. It is commendable rather than censurable in a judge to review complaints as
                they are filed and weed out the frivolous ones without putting the defendant to the burden of
                responding, provided of course that the review is conscientious and made by the judge himself (or
                herself) rather than delegated to staff." (citations omitted)); United States v. 4492 S. Livonia Rd.,
                889 F.2d 1258, 1266 (2d Cir. 1989) ("In addition, and of more importance, in determining the
                sufficiency of a complaint under Rule E(2)(a), courts have examined supporting affidavits to
                determine whether they cure a lack of particularity in the complaint itself." (citations omitted)).


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             distinguish between facts and conclusions.276 This is objectionable for two
             reasons: it is conceptually a problematic distinction, and it unnecessarily
             creates potential for the improper influence ofjudicial bias.
                  In the past, courts struggled with the ability to draw a line between facts
             and conclusions. 277 This difficulty produced inconsistent results. 278 Even
             the current members of the Supreme Court have been unable to agree upon
             which allegations are factual and which are conclusory. 279 This is the
             primary reason why Justice Souter, author of the Twombly opinion,
             dissented in Iqbal.280 Where allegations are borderline, they are by
             definition more difficult to marshal. However, the Court's description of
             conclusory allegations seems only to refer to the "bare" and the "naked"
             allegations without any content specific to the factual setting out of which
             the case arose. 2 1' These allegations on the extreme end of the fact-
             conclusion continuum ought to be easier for courts to identify. 282 Therefore,
             the risk of a mistake is low.
                  The Court expressly informed readers that personal disbelief is not
              grounds for finding that allegations are conclusory. 283 Nevertheless,
              concerns exist about the opportunity for judges to express their personal bias
             when they distinguish between facts and conclusions.2 84 This should not be


              276. See supra notes 117-118 and accompanying text.
              277. See 5 WRIGHT & MILLER, supra note 20, § 1216. "[D]istinctions drawn under the codes
             among 'evidentiary facts,' 'ultimate facts,' and 'conclusions' were a 'source of considerable
             confusion' .....   Id.
              278. Id. "[Als was amply demonstrated by years of frustrating experience, it was difficult, if not
             impossible, to draw meaningful and consistent distinctions between or among 'evidence,' 'facts,'
             and 'conclusions.' These concepts tended to merge to form a continuum and no readily apparent
             dividing markers developed to separate them." Id.
              279. The Iqbal majority treated the assertion that the FBI's policy discriminated against Arab
             Muslim men "solely on account of their race, religion, or national origin" as conclusory, see
             Ashcroft v. Iqbal, 129 S. Ct. 1937, 1951 (2009), but Justice Souter considered it a non-conclusory,
             relevant assertion supported by factual allegations, see id. at 1960-61 (Souter, J., dissenting).
             According to Justice Souter, there is no principled basis for the distinction between the allegations
             that "(1) after September 11, the FBI held certain detainees in highly restrictive conditions, and (2)
             Ashcroft and Mueller discussed and approved these conditions," which the majority deems factual,
             and:
                   (1) [Alfter September 11, the FBI designated Arab Muslim detainees as being of "high
                   interest" "because of the race, religion, and national origin of the detainees, and not
                   because of any evidence of the detainees' involvement in supporting terrorist activity,"
                   and (2) Ashcroft and Mueller "knew of, condoned, and willfully and maliciously agreed"
                   to that discrimination.
             Id. at 1961.
               280. Id. at 1960.
               281. See supranotes 120-132 and accompanying text.
               282. See supra notes 120-132 and accompanying text.
               283. See supra note 123 and accompanying text.
               284. Mauro, supra note 4 ("Brooklyn Law School professor Elizabeth Schneider, who has written
             extensively on federal civil procedure, said Iqbal is forcing trial judges to go 'line by line' through

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               concerning because such an abuse would be grounds for reversal.2 85 Greater
               opportunity for the influence of judicial bias exists under the second prong,
               where the Court's instructions are relatively vague.286
                    The second prong requires reviewing courts to use "judicial experience"
               and "common sense" to determine whether a claim is plausible. 287 This,
               critics argue, gives judges too much discretion and opportunity to employ
               their subjective beliefs and biases.288 But the Court also said that judges are
               not permitted to dismiss a complaint on the basis that they personally
               disbelieve that the allegations are true.289 Plausibility does not refer to



               pleadings, using subjective factors to decide what parts are factual and which statements are
               conclusory. 'If that's not an open door to judicial bias, I don't know what is,' she said.").
                 285. The standard of review on a motion to dismiss is de novo. Harry v. Marchant, 291 F.3d 767,
               769 (11th Cir. 2002) (en banc).
                 286. See infra notes 287-288 and accompanying text.
                 287. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009).
                 288. See, e.g., Hearing, supra note 76, at 62 (Iqbal "puts improperly broad and additional power
               into the hands of judges while adversely affecting the authority the Constitution reposes in juries."
               (statement of John Vail)); Frankel, Mr. Iqbal, supra note 167 (John Vail of the Center for
               Constitutional Law argues that, "[a] person is now barred even from entering the courthouse, absent
               being able to drum up facts that convince a federal judge-someone who breathes fairly rarified
               air-that her claim is subjectively 'plausible."'); Hearing, supra note 76, at 90 ("[T]his new
               plausibility standard appears dangerously subjective. . . ." (prepared statement of Debo P.
               Adegbile)); Liptak, supra note 2 ("'[Iqbal] obviously licenses highly subjective judgments,' said
               Stephen B. Burbank, an authority on civil procedure at the University of Pennsylvania Law School.
               'This is a blank check for federal judges to get rid of cases they disfavor."'); Restoring Access to the
               Courts (Editorial), N.Y. TIMES (Dec. 22, 2009), http://www.nytimes.com/2009/12/22/opinion/
               22tue3.html?_r-1 (Iqbal "gives judges excessive latitude to bury cases based on their subjective
               views before the evidence emerges and can be fairly weighed.").
                     During oral arguments for Ashcroft v. Iqbal, the Court engaged in a highly subjective line of
               questioning about whether they were permitted as judges to disbelieve the factual allegations in the
               complaint. See Liptak, supra note 257 ("Justice Stephen G. Breyer asked a hypothetical question:
               would a plaintiff be allowed to pursue a lawsuit against the president of Coca-Cola on the bare
               accusation that the president had personally put mice in soda bottles? Other justices engaged the
               question, considering whether such a lawsuit would be subject to sanctions on the grounds that it
               was frivolous and whether the company's president would have to submit to questioning under oath
               at a deposition. 'How are we supposed to judge whether we think it's more unlikely that the
               president of Coca-Cola would take certain actions,' Chief Justice John G. Roberts Jr. asked Mr.
               lqbal's lawyer, Alexander A. Reinert, 'as opposed to the attorney general of the United States?' Mr.
               Reinert said that the answer was not to require more detailed accusations from his client but to
               require the defendants to provide evidence to establish whether they bore responsibility for what
               happened and whether they are entitled to immunity. Mr. Garre countered that no such inquiry was
               needed because 'common experience shows' that the attorney general and F.B.I. director 'simply
               aren't involved' in 'granular decisions' about whom to detain and under what conditions."). This
               raises concerns about subjectivity but did not ultimately influence the opinion, which held that
               factual allegations were entitled to an assumption of truth. See supra notes 117-118 and
               accompanying text.
                     At the very least, it is apparent that different judges may reach different conclusions about a
               claim's plausibility. For example, the majority in Twombly said that a conspiracy based on
               allegations of parallel conduct did not meet the plausibility standard, but Justice Stevens and Justice
               Ginsburg would have said that the claim was plausible. Bell Atl. Corp. v. Twombly, 550 U.S. 544,
               591 (Stevens, J., dissenting). So, proponents of the plausibility standard should realistically expect
               less consistent opinions.
                 289. See Iqbal, 129 S. Ct. at 1959 ("[A] court must take the allegations as true, no matter how
               skeptical the court may be." (citations omitted)).


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             whether the factual allegations are believable or credible.290 On the
             contrary, factual allegations are entitled to an assumption of truth.29 1
             Plausibility refers to whether it is believable that the plaintiff will be entitled
             to relief assuming that the factual allegations are true.292 So, judges are
             called upon to use their judicial experience in their area of expertise, the law,
             to determine whether the complaint meets a minimal level of plausibility,
             not to make subjective judgments about what happened.
                  Some critics even object to the requirement that the complaint contain
             factual allegations sufficient to establish a plausibility of entitlement because
             it unjustly requires plaintiffs to obtain "evidence" before bringing a claim. 293


               290. The first prong does not permit judges to deem allegations conclusory on the basis that they
             are unbelievable. See supranote 123 and accompanying text. Neither does the second prong permit
             judges to dismiss a complaint based on personal disbelief. See supra note 289 and accompanying
             text.
               291. See supra note 142 and accompanying text. However, Justice Souter would not extend the
             presumption of truth to sufficiently fantastic factual allegations. Iqbal, 129 S. Ct. at 1959 (Souter, J.,
             dissenting) ("[A] court must take the allegations as true, no matter how skeptical the court may
             be.... The sole exception to this rule lies with the allegations that are sufficiently fantastic to defy
             reality as we know it: claims about little green men, or the plaintiff's recent trip to Pluto, or
             experiences in time travel." (citations omitted)). To the extent that judges disagree about the nature
             of reality involving the existence of ghosts, angels, extraterrestrials, etc., this could lead to fairly
             disparate results. Perhaps one potentially better avenue for judges in this situation is to deny
             jurisdiction. See, e.g., United States ex. rel. Mayo v. Satan and His Staff, 54 F.R.D. 282 (W.D. Pa.
              1971) (refusing plaintiff's prayer in part because plaintiff cannot obtain personal jurisdiction over
             the defendant, Satan).
               292. See supra note 143 and accompanying text; see also Iqbal, 129 S. Ct. at 1959 (Souter, J.,
             dissenting).
               293. Herman Schwartz, professor of law at the American University, misrepresented the Court by
             claiming that "[a]t issue was how much evidence the plaintiff, Javaid Iqbal, needed to support his
             complaint about government mistreatment." Schwartz, supra note 4; see also Stephen C. Webster,
             Scahill: Setback for Iraqis'SuitAgainst BlackwaterActually a Victory, RAW STORY (Oct. 24, 2009),
             http://rawstory.com/2009/2009/10/judge-iraqi-lawsuits-blackwater-proceed/ (stating incorrectly that
             the Supreme Court "found that the two Bush administration officials could not be sued without
              evidence that they ordered the abusive treatment").
                    Plausibility does not have its ordinary meaning in this context. See Robbins v. Oklahoma, 519
              F.3d 1242, 1247 (10th Cir. 2008) ("Thus, 'plausible' cannot mean 'likely to be true.' Rather,
              'plausibility' in this context must refer to the scope of the allegations in a complaint: if they are so
              general that they encompass a wide swath of conduct, much of it innocent, then the plaintiffs 'have
             not nudged their claims across the line from conceivable to plausible.' The allegations must be
              enough that, if assumed to be true, the plaintiff plausibly (not just speculatively) has a claim for
             relief."(footnote omitted) (citation omitted) (quoting Twombly, 550 U.S. at 570)).
                    Justice Stevens quoted Justice Rehnquist, explaining that "it may appear on the face of the
             pleadings that a recovery is very remote and unlikely but that is not the test." Id. at 583 (Stevens, J.,
              dissenting) (emphasis omitted) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), abrogatedby
              Harlow v. Fitzgerald, 457 U.S. 800 (1982)). The issue in Scheuer was whether plaintiffs with
              sufficient factual allegations could survive a motion to dismiss without providing proof that the
              allegations were true, not whether the factual allegations were sufficient in the first place. See
              Scheuer, 416 U.S. at 238. The plausibility standard is not in conflict with Justice Rehnquist's
              statement in Scheuer because he was primarily referring to whether it appeared that there would be
              sufficient evidence to succeed at trial, not whether entitlement to relief was plausible in light of the
              factual allegations. See id. at 236-38.


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               Evidence, however, is not required because allegations are given the
               assumption of truth.2 94 Some pre-trial fact-finding may be necessary
               because Rule 11 requires "an inquiry reasonable under the
               circumstances." 295 Even then, Rule 11 specifically contemplates pleading
               allegations that "will likely have evidentiary support after a reasonable
               opportunity for further investigation or discovery.",2 96 So, the factual
               allegations need only be based on what the attorney, or pro se plaintiff,
               believes in good faith to be true.

               D. Did the Court Violate the Rulemaking Process?

                    The Rules Enabling Act granted courts the power to govern court
               procedure.297 Under the current system, rules of procedure are created or
               modified by a process beginning with the Judicial Conference, consisting of
               twenty-seven judges, which has set up committees to "carry out a
               'continuous study of the operation and effect of the general rules of practice
               and procedure."' 298 The Standing Committee considers and proposes
               revisions, which are circulated for comment, possibly modified, submitted to
               the Judicial Conference, and finally transmitted to the Supreme Court, which
               "retains the ultimate responsibility for the adoption of changes in the rules
               which are accomplished by an Order of the Court." 299 The Supreme Court
               will retain the authority to govern procedure unless Congress decides to
               revoke it. 300
                    Currently, the legislature and the Supreme Court both agree that the
               rules should neither be made by judicial interpretation nor on an ad hoc
               basis. 30' The Court in Iqbal claimed to have merely interpreted Rule 8(a)(2),
               not to have changed the rule.3 02 Whether the Court violated the rulemaking



                294. Iqbal, 129 S. Ct. at 1949; Haase v. Sessions, 835 F.2d 902, 904 (D.C. Cir. 1987) (explaining
               that a motion to dismiss is based solely on the plaintiffs pleadings unlike a motion for summary
               judgment which is based on evidence).
                295. FED. R. CIV. P. 11(b).
                296. FED. R. Civ. P. 11 (b)(3).
                297. See 28 U.S.C. § 2072(a)-O) (2008); see also supra note 48 and accompanying text.
                298. Baker, supranote 48, at 328-29 (quoting 28 U.S.C. § 2073(b)).
                299. Id. at 328-31 (providing a detailed, step-by-step description of the process); see also Stephen
               C. Yeazell, Judging Rules, Ruling Judges, 61 LAW & CONTEMP. PROBS. 229, 232-37 (1998)
               (describing how the process has changed over the years).
                 300. See Laurens Walker, A Comprehensive Reform for Federal Civil Rulemaking, 61 GEO.
               WASH. L. REv. 455, 460 (1993) (citing U.S. CONST. art. III, § 2, cl. 2). Although the power has been
               given to the judiciary, "Congress has the constitutional authority to make court rules and may revoke
               delegation of that authority to the Supreme Court and the Judicial Conference." Id.
                301. Cavanagh, supra note 263, at 879 ("[C]ertain classes of cases may well warrant
               particularized pleading but that decision should be made by the rulemakers through amendments to
               the Federal Rules of Civil Procedure and not by judges on an ad hoc basis."); Swierkiewicz v.
               Sorema N. A., 534 U.S. 506, 514-15 (2002) (citing Leatherman v. Tarrant Cnty. Narcotics
               Intelligence & Coordination Unit, 507 U.S. 163, 168 (1993)).
                 302. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1953 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S.
               544, 554(2007)).


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             process turns upon whether it misinterpreted Rule 8.       Critics have made
             several arguments that it did.'0 In fact, it did not.30 s Assuming that the
             Court is correct in its interpretation of Rule 8, there is still disagreement
             about whether the plausibility standard is the best standard for achieving
             justice and about whether Congress should act to overturn it. 306

                    VI.    IMPACT: RULE 12(B)(6) MOTIONS UNDER THE PLAUSIBILITY
                                               STANDARD

                  The plausibility standard is the standard used to determine whether a
             complaint states a claim upon which relief can be granted under Rule
             8(a)(2).'0 When a question arises regarding whether a complaint states a
             claim, a defendant can file a Rule 12(b)(6) motion to dismiss the
             complaint.os Under Iqbal, the Court will now apply the plausibility
             standard when assessing the merits of a 12(b)(6) motion to dismiss.3 09 The
             Court made it clear that it would no longer apply the Conley no-set-of-facts
             test because it was retired by Twombly.3"o The Court also articulated a two-
             pronged approach to plausibility, requiring that the factual, non-conclusory
             allegations plausibly suggest an entitlement to relief.3 1 This new approach
             gives rise to the question: what impact will the plausibility standard have on
             those involved-plaintiffs, defendants, courts, and the legal profession?
                  Plaintiffs may fear that Iqbal gives federal judges the discretion to throw
             out disfavored cases, but it does not.3 12 What it does mean is that plaintiffs
             will have to gather facts, or at least make factual allegations in the
             complaint, because federal courts will continue to require a sufficient
             amount of facts to suggest entitlement to relief."' This may be difficult and
             costly in those cases where some facts are not available to plaintiffs, such as
             antitrust, employment discrimination, and products liability.3 14 However,


              303. If the Court properly explicated Rule 8, then it did not change the rules in violation of the
             rulemaking process.
              304. See supra notes 187-201 and accompanying text.
              305. See supra notes 236-245 and accompanying text.
              306. See infra notes 336-339 and accompanying text.
              307. Iqbal, 129 S. Ct. at 1949.
              308. FED. R. Civ. P. 12(b)(6).
              309. Iqbal, 129 S. Ct. at 1950-51. "[O]nly a complaint that states a plausible claim for relief
             survives a motion to dismiss." Id at 1950 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556
             (2007)).
               310. Twombly, 550 U.S. at 563. The Iqbal Court incorporated the Twombly reasoning. Iqbal, 129
             S. Ct. at 1953.
               311. See supra note 309 and accompanying text.
               312. See supra notes 287-292 and accompanying text.
               313. See supra note 243 and accompanying text.
               314. See supra note 178 and accompanying text.


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               plaintiffs still only need to make a reasonable inquiry into the facts and can
               proceed on factual allegations that "will likely have evidentiary support after
               a reasonable opportunity for further investigation or discovery" if
               specifically identified. 1 Iqbal may prevent some plaintiffs from engaging
               in abusive discovery by providing federal courts with a clear means to
               dismiss claims that lack any factual basis."'
                    The general impression from practicing attorneys seems to be that Iqbal
               has made motions to dismiss more common." Whether 12(b)(6) motions
               will be granted more frequently, however, is still yet to be determined.'
               Once courts and defense attorneys have a better understanding of the
               plausibility standard, filing a motion to dismiss should become a more
               calculated decision.319      Still, defense attorneys may attempt to take
               advantage of an opportunity to file motions to delay trial.320 The great
               benefit for defendants will be the ability to better ward off frivolous claims,
               but the plausibility standard does nothing to decrease litigation costs where
               the complaint is sufficient to state a claim.321
                    Federal courts have experienced a large number of Iqbal motions to
               dismiss over the past year.322 When the motions can be granted, they will
               often be granted with leave to amend.323 When a complaint can be
               dismissed entirely, however, such dismissals should serve to reduce the
               docket of federal judges and the administrative costs of running the court by
               the federal courts' own actions in dismissing meritless claims as early as
               possible. 324 The federal courts reviewing a motion to dismiss will now have
               to apply the plausibility standard to every civil action.3 25 Justice Kennedy's
               sometimes cryptic opinion does create a potential for misunderstanding.326
               Judges and their law clerks should be careful not to dismiss a complaint
               based on mere personal disbelief of the factual allegations, as that would be



                315. FED. R. CIV. P. 11(b)(3).
                316. See supra notes 254-255 and accompanying text.
                317. See supra note 4 and accompanying text.
                318. See supra notes 212-216 and accompanying text.
                319. See Gerald L. Maatman, Jr., Winning Defense Litigation Strategiesin Employment Litigation,
               712 PRAcTIsING L. INST. LITIG. 817, 823 (2004) ("1 rarely file motions to dismiss unless the benefits
               of such a motion far outweigh its costs. If the court is likely to allow the plaintiff to simply file an
               amended complaint, it is my general practice to file a general denial by way of answer and
               affirmative defenses rather than educating the plaintiff through a motion to dismiss.").
                320. See id.
                321. See supra notes 254-255 and accompanying text.
                322. See supra notes 212-216 and accompanying text.
                323. See supra notes 273-274 and accompanying text.
                324. See supra notes 253, 259 and accompanying text.
                325. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1953 ("Though Twombly determined the sufficiency of a
               complaint sounding in antitrust, the decision was based on our interpretation and application of Rule
               8. That Rule in turn governs the pleading standard 'in all civil actions and proceedings in the United
               States district courts.' Our decision in Twombly expounded the pleading standard for 'all civil
               actions,' and it applies to antitrust and discrimination suits alike." (citations omitted)).
                326. See supra notes 133-143 and accompanying text.


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             grounds for reversal.3 27 We should have more confidence in the federal
             judiciary than to expect judges to act on pure skepticism about the factual
             allegations.32 8 When applied correctly, the plausibility standard should
             further all three of the purposes of the federal rules-to secure the just,
              speedy, and inexpensive determination of every action. 2
                   The legal profession will hereafter be called upon to investigate claims
             before filing a complaint. 33 0 For those who favor the litigious plaintiff, this
             may be seen as a setback.331 A plaintiff will first have to gather sufficient
              facts before bringing a claim into federal court.332 Still, the plausibility
              standard does not really raise the standard articulated by the Supreme Court
              in the past;333 rather, the Court made it clear that lower courts are not to
              apply the no-set-of-facts test under which practically any complaint stating a
              fact and the elements of a cause of action in conclusory fashion would be
             able to survive.334 From now on, the motion to dismiss for an insufficient
             pleading of fact may play a greater role in federal practice simply because it
              is clear that factual allegations are required.335

                   VII. CONGRESS SHOULD NOT ENACT LEGISLATION TO OVERRULE
                                     TWOMBLY AND IQBAL
                 Congress has introduced legislation that purports to restore the no-set-
             of-facts test from Conley v. Gibson.3 In so doing, it has politicized two


              327. See supranotes 141-143 and accompanying text.
              328. Judges know that "a court must take the allegations as true, no matter how skeptical the court
             may be." Iqbal, 129 S. Ct. at 1959 (Souter, J., dissenting).
              329. See supra notes 251-269 and accompanying text.
              330. Iqbal, 129 S. Ct. at 1949 ("A pleading that offers 'labels and conclusions' or 'a formulaic
             recitation of the elements of a cause of action will not do."').
              331. See Mauro, supra note 4(discussing impact on plaintiffs).
              332. Iqbal, 129 S. Ct. at 1949.
              333. See supra notes 236-245 and accompanying text.
              334. See supra notes 236-245 and accompanying text.
              335. See supra notes 236-245 and accompanying text.
              336. Senator Arlen Specter, a Democrat from Pennsylvania, introduced the "Notice Pleading
             Restoration Act of 2009" in the Senate on July 22, 2009. S. 1504, 111th Cong. (2009). It would
             provide that:
                   Except as otherwise expressly provided by an Act of Congress or by an amendment to the
                   Federal Rules of Civil Procedure which takes effect after the date of enactment of this
                   Act, a Federal court shall not dismiss a complaint under rule 12(b)(6) or (e) of the Federal
                   Rules of Civil Procedure, except under the standards set forth by the Supreme Court of
                   the United States in Conley v. Gibson, 355 U.S. 41 (1957).
             Id. § 2.
             Representative Jerrold Nadler, a Democrat from New York's eighth district, sponsored the "Open
             Access to Courts Act of 2009" in the House, which was introduced by several representatives on
             November 19, 2009. H.R. 4115, 111th Cong. (2009). Section 2 provides:
                   (a) In General- Chapter 131 of title 28, United States Code, is amended by adding at the


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               major issues in civil procedure. It has brought the debate about whether the
               plausibility standard is a proper interpretation of Rule 8 to the floors of the
               legislature. 3 37 Additionally, it reinvigorated the debate about where to strike
               the balance between judicial and congressional dominance over the
               rulemaking process.


                     end the following:
                     Sec. 2078. Limitation on dismissal of complaints
                     (a) A court shall not dismiss a complaint under subdivision (b)(6), (c) or (e) of Rule 12 of
                     the Federal Rules of Civil Procedure unless it appears beyond doubt that the plaintiff can
                     prove no set of facts in support of the claim which would entitle the plaintiff to relief. A
                     court shall not dismiss a complaint under one of those subdivisions on the basis of a
                     determination by the judge that the factual contents of the complaint do not show the
                     plaintiffs claim to be plausible or are insufficient to warrant a reasonable inference that
                     the defendant is liable for the misconduct alleged.
                     (b) The provisions of subsection (a) govern according to their terms except as otherwise
                     expressly provided by an Act of Congress enacted after the date of the enactment of this
                     section or by amendments made after such date to the Federal Rules of Civil Procedure
                     pursuant to the procedures prescribed by the Judicial Conference under this chapter.
               Id. § 2 (internal quotation marks omitted).
                 337. Eviatar, supra note 178 ("As in the Senate, House lawmakers appear divided along party
               lines. Democrats and their witnesses say that the Supreme Court's recent decisions in Bell Atlantic
               v. Twombly and Ashcroft v. Iqbal have gutted the civil rights and antitrust laws and imposed an
               unfair and often insurmountable burden that will doom many valid claims. Republicans and their
               witnesses, meanwhile, say the court did the right thing to help reduce frivolous lawsuits that destroy
               small businesses and drag busy government officials into court unnecessarily.").
                 338. See, e.g., Walker, supra note 300. Walker's reform proposal aims to curb the influence of
               judicial self-interest by including the following tenants in a new rulemaking procedure:
                      [T]he Advisory Committee, (1) shall make rules based on adequate information; (2) shall
                      not make rules unless the potential benefits to society outweigh the potential costs; (3)
                      shall pursue objectives chosen to maximize the net benefits to society; (4) shall, among
                      altematives, choose the alternative involving the least cost to society; and (5) employ
                      priorities with the aim of maximizing the aggregate net benefits to society.
               Id. at 464. The discussion need not be limited to a choice between the judicial branch and the
               congressional branch. For example, Stephen Burbank has argued that practicing attorneys should
               have a role in the process. Stephen B. Burbank, Implementing ProceduralChange: Who, How, Why,
               and When?, ALA. L. REv. 221, 223 (1997). Also recommending the involvement of lawyers,
               Stephen Yeazell proposes "a two-step rulemaking process in which the earlier stages are dominated
               by lawyers, with judges asked only to approve the final result" in addition to relocating final
               approval authority to the Standing Committee rather than the Supreme Court. Yeazell, supra note
               299, at 238-39; see also Charles G. Geyh, Paradise Lost, Paradigm Found: Redefining the
               Judiciary's Imperiled Role in Congress, 71 N.Y.U. L. REV. 1165, 1165 (1996) (proposing an
               "Interbranch Commission on Law Reform and the Judiciary").
                         For a discussion of competing policy interests, see Johnson, supra note 49, at 33-34.
               Johnson explains:
                      There are essentially two possible routes for policymaking for federal courts: the
                      administrative route and the political route.... Advocates of this administrative approach
                      hope to insulate the work of the courts from the vicissitudes of democratic politics and
                      promote less costly and more uniform disposition of cases. The administrative route leads
                      to increased authority by judges, administrative personnel, and staff in the judicial branch
                      over important policies for the courts. Obstacles on the path of administrative
                      policymaking include the traditionally decentralized, judge-focused, politically
                      responsive, and locally dominated character of our federal court structure.
                      . . . [The] political approach appeals to those who contend that in a democratic system the
                      power of the federal courts is only legitimate to the extent that it reflects the values of the
                      people.... The obvious institution to accomplish such oversight is Congress, although
                      the executive branch, primarily through the Department of Justice, does play a part. Such


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                  Under the current law, this legislative action violates the Rules Enabling
             Act because pleading standards are procedural matters.339 It is possible to
             reverse the plausibility standard through the established rulemaking
             process.340 Nonetheless, opponents of the plausibility standard would
             undoubtedly prefer a relatively quick legislative response, as opposed to a
             slow and unpredictable response through the committee. 34' To be fair to
             opponents of the plausibility standard, they seek legislative action in part
             because they see it as necessary to correct the Supreme Court's violation of
             the rulemaking process.34 2
                  The politicization of the rulemaking process is nothing new. For the
             first thirty years of the Rules Enabling Act, the tendency was to allow the
             judicial branch near-complete dominance of procedural rulemaking while
             Congress governed substantive rights and law. 34 3 However, when the
             Judicial Conference took on the rules of evidence in the 1960s, the difficulty


                   an emphasis on political accountability is in tension, however, with traditions of judicial
                   independence, the rule of law, and an emphasis on courts being a separate realm,
                   protected from democratic politics.
             Id.
               339. See 28 U.S.C. § 2072(a)-(b) (2008).
               340. See Mauro, supra note 25 ("U.S. District Judge Mark Kravitz of Connecticut, who chairs the
             influential Judicial Conference Advisory Committee on Civil Rules, said his committee is
             monitoring the impact of Iqbal and Twombly with an eye toward gathering data and discussing later
             this year whether rule changes are needed. 'We ought to be deliberate about it,' Kravitz said in his
             first comments to the press about the Iqbal issue. So far, he told The National Law Journal,his
             sense is that judges are 'taking a fairly nuanced view of Iqbal' and that it is not yet 'a blockbuster
             that gets rid of any case that is filed."'); Uplend, supra note 167 ("Garre concluded that 'the
              Twombly and Iqbal decisions are unquestionably important and in line with decades' worth of
             precedent at both the Supreme Court and appellate level. It is too soon to say what impact they will
             have on civil litigation in the federal courts,' he conceded, 'but they have yet to lead to the wholesale
             dismissal of claims and are more likely to have an effect on a case-by-case basis. Any legislative
             effort to override these decisions at this time would be precipitous and unwise,' Garre warned. 'The
             sounder course is to permit the Judicial Conference of the United States to continue to monitor the
             situation and respond if need be through the time-honored judicial rulemaking process established by
             Congress."').
               341. See, e.g., Hearing,supranote 76, at 75 (statement of John Vail) ("Congressional action could
             be subject to criticism for usurping the rulemaking role of the Judicial Conference of the United
             States under the Rules Enabling Act. I do not believe such criticism would be just. That process is
             too slow to grant necessary relief, and Congressional action would not usurp the role of the
             Conference."); Mauro, supra note 25 ("But altering the federal rules is a lengthy process, noted
             University of Pennsylvania Law School professor Stephen Burbank, a strong critic of Iqbal. He also
             cautioned, 'The process is under the control of the Supreme Court, which is responsible for these
             atrocities.' Chief Justice John Roberts Jr., who was in the 5-4 majority in Iqbal, appoints members
             of Judicial Conference committees.").
               342. See supranotes 298-302 and accompanying text.
               343. Johnson, supra note 49, at 34 ("review[ing] the historical trend toward politicization of
             procedural rulemaking and the resulting changes in the political dynamics between Congress and the
             judicial branch"); Baker, supra note 48, at 333. "Although previously passive, during the last two
             decades Congress has taken a more active role to change proposed rules and to preempt altogether
             the judicial rulemaking procedure." Id.


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                distinguishing between substance and procedure became more apparent.
                Congress perceived that the Conference was crossing the boundary too far
                into the substantive domain.345 Consequently, Congress felt justified to take
                greater part in rulemaking.346 Since that time, Congress has become
                increasingly involved in the rulemaking process. 347
                     Importantly, there are significant problems with the legislation as it is
                written. First, it would replace the plausibility standard with the problematic
                no-set-of-facts standard. 34 8 The no-set-of-facts test is too permissive and
                cannot be taken literally. 349 Furthermore, it is inconsistent with dismissing a
                complaint for an insufficient pleading of facts. 5 o As a result, it would also
                increase administrative costs and potential for abusive litigation.35 ' Second,
                the legislation would eliminate the heightened pleading standard in fraud
                and mistake cases under Rule 9 because it applies to every 12(b)(6)
                motion.3 2 Finally, it could create an unfair playing field. Under the literal
                language of the bill, a plaintiff's complaints are judged by the no-set-of-facts
                test, while elements of a defendant's answer may still be judged by the
                plausibility standard.13
                     Basically, Congress is not as well-equipped as the Judicial Conference
                either to assess the impact of Iqbal or to draft a proper interpretation of Rule
                8.354 Moreover, repealing Iqbal is likely to harm the economy. 355 Finally,


                 344. See Johnson, supra note 49, at 34; Paul D. Carrington, "Substance" and "Procedure" in the
                Rules EnablingAct, 1989 DuKE L.J. 281, 283 (1989).
                 345. See Johnson, supranote 49, at 34.
                 346. Id.
                 347. Id. For a comprehensive overview of this development see Geyh, supra note 338, at 1167-
                91.
                 348. Michael C. Dorf,Should Congress Change the Standardfor Dismissing a FederalLawsuit?,
                FINDLAW.COM (July 29, 2009), http://writ.news.findlaw.com/dorf20090729.htmi ("Rather than
                specifying a standard for dismissing lawsuits, the Specter bill simply incorporates the Conley
                standard by reference. That would be fine if the Conley standard were well-understood, but it is
                not."). Moreover, the Court may claim that the plausibility standard is consistent with Conley. Id.
                However, this latter problem is eliminated in the house bill. See supra note 336.
                  349. See supranotes 75-76 and accompanying text.
                  350. Under the no-set-of-facts test, a complaint is not dismissed unless there is no set of facts that
                the plaintiff could prove in order to be entitled to relief. Conley v. Gibson, 355 U.S. 41, 44 (1957).
                The concept of insufficient pleading of facts assumes that some facts must be plead. However, the
                no-set-of-facts test does not.
                  351. See supra notes 251-260 and accompanying text.
                  352. The Specter bill could eliminate the heightened specificity requirement for allegations of
                fraud or mistake under Rule 9(b). See supra notes 251-260 and accompanying text.
                  353. See supra notes 251-260 and accompanying text. Some lower courts have begun applying
                the plausibility standard to defendants' complaints, and the Specter proposal runs the risk of
                relieving plaintiffs' complaints of the plausibility standard while defendants' complaints are judged
                by the more rigorous standard. See supra notes 251-260 and accompanying text. "In responding to
                a pleading, a party must: (A) state in short and plain terms its defenses to each claim asserted against
                it; and (B) admit or deny the allegations asserted against it by an opposing party." FED. R. CIv. P.
                8(b)(1).
                  354. See supra notes 215-216, 297-300 and accompanying text.
                  355. See generally Lisa A. Rickard, Repealing lqbal and Twombly: Understandingthe Physics of
                Politics, TOWNHALL.COM (July 15, 2010), http://townhall.com/columnists/LisaARickard/2010/07/


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              Congress ought to be spending its time on issues of greater national
              urgency.356

                                                    VIII. CONCLUSION
                   Even though critics of the plausibility standard have exhibited alarm,
              the standard has not led to the wholesale dismissal of civil complaints.
              The plausibility standard will be applied in "all civil actions and proceedings
              in the United States district courts," 35 9 but the level of factual allegations
              required will be "context-specific." 3 On the first prong of the two-pronged
              approach, the Court distinguishes between the factual allegations and
              conclusory allegations.36 ' Factual allegations are those specific to the
              factual setting out of which the case arose.362 Only the factual allegations
              are entitled to the assumption of truth.363 On the second prong, the Court
              assumes that the factual allegations are true and assesses whether those
              allegations "plausibly suggest an entitlement to relief."364 In assessing the
              plausibility of a claim, the Court does not ask whether the factual allegations
              are believable or credible.365 Rather, the Court asks whether, assuming the
              factual allegations are true, it is plausible that the plaintiff will be entitled to


              15/repealingjiqbal-andtwombly understanding-thephysicsof~politics ("Reversing Iqbal and
              Twombly would increase the already-excessive litigation burdens on businesses in this country-
              small and large alike--diverting resources that would otherwise be used to create jobs and
              strengthen our nation's economy."); Darpana M. Sheth, Overturning Iqbal and Twombly Would
              EncourageFrivolous Litigation and Harm NationalSecurity, THE HERITAGE FOUNDATION (June 4,
              2010), http://www.heritage.org/Research/Reports/2010/06/Overturning-Iqbal-and-Twombly-Would-
              Encourage-Frivolous-Litigation-and-Harm-National-Security ("There is no question that [the
              proposed legislation to overturn Iqbal and Twombly] would lead to an exponential increase in
              frivolous and abusive litigation at great cost to the parties, the federal courts, and the American
              taxpayer, and interfere with the ability of government officials to protect the national security of the
              United States.").
                356. See, e.g., Peter S. Goodman & Javier C. Hernandez, Jobless Rate Holds Steady, Raising
              Hopes of Recovery, N.Y. TIMES, Mar. 6, 2010, at Al, (reporting 9.7 percent national jobless rate,
              16.8 percent underemployment rate); Credit Crisis-The Essentials, N.Y. TIMES (July 12, 2010),
              http://topics.nytimes.com/top/reference/timestopics/subjects/c/creditcrisis/index.html    (referring to
              "Wall Street's biggest crisis since the Great Depression," the mortgage crisis, and global economic
              crisis); U.S. FederalDeficit As Percent of GDP, USGOVERNMENTSPENDING.COM http://www.us
              governmentspending.com/federal deficitchart.htmi (last visited Oct. 13, 2010) (reporting that the
              federal deficit is 10.64 percent of GDP-highest ever at $14,623.9 billion).
                357. See supra notes 2-17 and accompanying text.
                358. See supra note 215.
                359. Ashcroft v. lqbal, 129 S. Ct. 1937, 1953 (2009).
                360. Id. at 1950; see also supra text accompanying note 163.
                361. Iqbal, 129 S. Ct. at 1950; see also supra notes 117-118 and accompanying text.
                362. See supra notes 129-132 and accompanying text.
                363. Iqbal, 129 S. Ct. at 1950.
                364. Id. at 1950; see also supra note 119 and accompanying text.
                365. See supra notes 141-143 and accompanying text.


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                relief.36 6 Plausibility is a minimal requirement that does not require the
                plaintiff to eliminate all possible alternative explanations to the plaintiffs
                theory.3 67 Failure to meet the plausibility standard justifies a dismissal for
                an insufficient pleading of fact.368
                     Contrary to much criticism, the plausibility standard did not raise
                pleading standards above the level required by Rule 8.369 It only raised
                pleading standards above that required by the overly-permissive no-set-of-
                facts test.370 The plausibility standard adopted by the Supreme Court is
                consistent with the purpose of the Federal Rules of Civil Procedure-to
                "secure the just, speedy, and inexpensive determination of every action and
                proceeding." 3 ' The plausibility standard does not subject plaintiffs to the
                subjective discretion of each federal judge. 7 Rather, it sets a minimal
                threshold, which requires what has long been understood as a sufficient
                pleading of fact.113 Finally, all nine Justices of the Supreme Court have
                adopted the plausibility standard.374 So, practicing civil lawyers should be
                prepared to deal with what has become "the most significant Supreme Court
                decision in a decade for day-to-day litigation in the federal courts."37 s

                                                                                   Daniel W. Robertson*




                 366. See supranotes 141-143 and accompanying text.
                 367. See supranotes 145-161 and accompanying text.
                 368. Iqbal, 129 S. Ct. at 1954.
                 369. See supra notes 236-245 and accompanying text.
                 370. See supranotes 236-245 and accompanying text.
                 371. See supranotes 246-269 and accompanying text.
                 372. See supranotes 123-143 and accompanying text.
                 373. See supranotes 162, 240-245 and accompanying text.
                  374. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009); id. at 1959 (Souter, J., dissenting); see also
                supra note 230.
                 375. See supranote 2 and accompanying text.
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